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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 In re:                                                Chapter 11
                        1
 USA GYMNASTICS,                                       Case No. 18-09108-RLM-11

                       Debtor.


          GLOBAL NOTES AND STATEMENT OF LIMITATIONS, OVERVIEW OF
                 METHODOLOGY, AND DISCLAIMERS REGARDING
           DEBTOR’S SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

          USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (“USAG” or the “Debtor”), hereby files its Schedules of Assets and Liabilities
 (“Schedules”) and Statement of Financial Affairs (“SOFA”) in accordance with section 521 of
 title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
 of Bankruptcy Procedure.

        A.     The Debtor filed this chapter 11 case (the “Chapter 11 Case”) on December 5,
 2018 (the “Petition Date”). Since the Petition Date, the Debtor and its retained professionals
 worked diligently to compile and prepare the Debtor’s Schedules and SOFA.

         B.     James Scott Shollenbarger, Chief Financial Officer of USAG, has signed the
 Schedules and SOFA. In signing the Schedules and SOFA, Mr. Shollenbarger is attesting to the
 process used by the Debtor and its retained professionals in gathering and presenting the
 information set forth in the Schedules and SOFA. Mr. Shollenbarger has not (and could not
 have) verified the completeness or accuracy of the financial data derived from Debtor’s books
 and records, including responses, statements and representations concerning assets and liabilities
 of the Debtor presented in the Schedules and SOFA.

         C.     Mr. Shollenbarger, the Debtor, its counsel, Omni Management Group, and their
 respective agents, employees, attorneys, and advisors involved in the compilation and
 preparation of the Schedules and SOFA (“Compilers”) do not guarantee or warrant the accuracy
 or completeness of the data, responses, statements, and representations that are provided in the
 Schedules and SOFA, and none of the foregoing shall be liable for any loss or injury arising out
 of or caused in whole or in part by the acts, errors, or omissions, whether negligent or otherwise,
 in procuring, compiling, collecting, interpreting, reporting, communicating, or delivering the
 information contained in the Schedules and SOFA. While reasonable efforts have been made to
 provide accurate and complete information in the Schedules and SOFA, inadvertent errors or

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the
 Debtor’s principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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 omissions may exist. The Compilers expressly do not undertake any obligation to update,
 modify, revise, or re-categorize the information provided in the Schedules and SOFA, or to
 notify any third party should the information be updated, modified, revised, or re-categorized. In
 no event will the Compilers be liable to any third party for any direct, indirect, incidental,
 consequential, or special damages (including, but not limited to, damages arising from the
 disallowance of a potential claim against Debtor or damages to business reputation, lost business,
 or lost profits), whether foreseeable or not and however caused, even if the Compilers are
 advised of the possibility of such damages.

         D.      In light of the foregoing, the Schedules and SOFA are limited and must be read in
 connection with, and informed by, the following Global Notes and Statement of Limitations,
 Overview of Methodology, and Disclaimers Regarding Debtor’s Schedules and Statement of
 Financial Affairs (the “Global Notes”), which are incorporated by reference in, and comprise an
 integral part of, the Schedules and SOFA.

                           Global Notes and Statement of Limitations

         1.      Description of Chapter 11 Case. The Debtor continues to operate its
 organization as debtor in possession in this Chapter 11 Case. The Compilers have endeavored to
 present information in the Schedules and SOFA reported as of the Petition Date. However, there
 may be certain instances where the Debtor was unable to do so. The Compilers have endeavored
 to note those circumstances where information is not as of the Petition Date.

         2.      Global Notes Control. These Global Notes pertain to and comprise an integral
 part of all of the Schedules and SOFA and should be referenced in connection with any review
 thereof. In the event that the Schedules and SOFA differ from these Global Notes, the Global
 Notes control.

        3.     Reservations and Limitations. Reasonable efforts have been made to prepare
 and file complete and accurate Schedules and SOFA; however, as noted above, inadvertent
 errors or omissions may exist. The Debtor reserves all rights to amend or supplement the
 Schedules and SOFA as is necessary and appropriate. Nothing contained in the Schedules and/or
 SOFA constitutes a waiver of any of Debtor’s rights or an admission of any kind with respect to
 the Chapter 11 Case or otherwise. Any specific reservation of rights contained elsewhere in the
 Global Notes does not limit in any respect the general reservation of rights contained in this
 paragraph.

               (a) No Admission. Nothing contained in the Schedules and/or SOFA is intended
        or should be construed as an admission or stipulation of the validity of any claim against
        Debtor, any assertion made therein or herein, or a waiver of Debtor’s rights to dispute
        any claim or assert any cause of action or defense against any party.

                (b) Recharacterization. Notwithstanding that the Debtor has made reasonable
        efforts to correctly characterize, classify, categorize, or designate certain claims, assets,
        executory contracts, unexpired leases, and other items reported in the Schedules and
        SOFA, the Debtor nonetheless may have improperly characterized, classified,



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      categorized, or designated certain items. The Debtor thus reserves all rights to
      recharacterize, reclassify, recategorize, or redesignate items reported in the Schedules and
      SOFA at a later time as is necessary and appropriate.

             (c) Classification. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
      Schedule F as “unsecured,” or (iii) a contract on Schedule G as “executory” or
      “unexpired” does not constitute an admission by the Debtor of the legal rights of the
      claimant or a waiver of the Debtor’s right to recharacterize or reclassify such claim or
      contract.

              (d) Claims Description. Due to the timing and circumstances surrounding the
      filing of the Chapter 11 Case, the Debtor has been unable to verify the validity and
      amounts of some creditors’ claims, or the creditor claims reflected in the Debtor’s books
      do not include unprocessed claims, either because processing of invoices was not
      completed or the Debtor had yet to receive invoices for goods and services. As a result,
      the Debtor has labeled some claims as disputed, liquidated and/or contingent on the
      Schedules. Any failure to designate a claim as “disputed,” “contingent,” or
      “unliquidated” does not constitute an admission by the Debtor that such amount is not
      “disputed,” “contingent,” or “unliquidated.” The Debtor reserves all rights to dispute, or
      assert offsets or defenses to, any claim listed on its Schedules on any grounds, including,
      without limitation, liability or classification, or to otherwise subsequently designate such
      claims as “disputed,” “contingent,” or “unliquidated” or object to the extent, validity,
      enforceability, priority, or avoidability of any claim. Moreover, listing a claim does not
      constitute an admission of liability by the Debtor. The Debtor reserves all rights to amend
      its Schedules and SOFA as necessary and appropriate, including, but not limited to, with
      respect to claim description and designation.

               (e) Estimates and Assumptions. The preparation of the Schedules and SOFA
      required the Debtor to make reasonable estimates and assumptions with respect to the
      reported amounts of assets and liabilities, the amount of contingent assets and contingent
      liabilities on the date of the Schedules and SOFA, and the reported amounts of revenues
      and expenses during the applicable reporting periods. Actual results could differ from
      those estimates.

              (f) Causes of Action. Despite reasonable efforts, the Debtor may not have
      identified and/or set forth all of its causes of action (filed or potential) against third
      parties as assets in its Schedules and SOFA, including, without limitation, avoidance
      actions arising under chapter 5 of the Bankruptcy Code and actions under other relevant
      bankruptcy and non-bankruptcy laws to recover assets. The Debtor reserves all rights
      with respect to any causes of action, and nothing in these Global Notes or the Schedules
      and SOFA should be construed as a waiver of any such causes of action.

             (g) Insiders. Where the Schedules and SOFA require information regarding
      “insiders,” the Debtor has included information with respect to individuals who serve or
      may have served as officers and directors (or the equivalent) as those terms are used in
      the Debtor’s Bylaws, as the case may be, during relevant time periods. Such individuals



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        may no longer serve as an officer or director of the Debtor. The listing of a party as an
        insider for purposes of the Schedules and SOFA is not intended to be, nor should it be,
        construed as a legal characterization of such party as an insider and does not act as an
        admission of any fact, right, claim, or defense, and all such rights, claims and defenses
        are hereby expressly reserved. Information regarding the individuals listed as “insiders”
        in the Schedules and SOFA has been included for informational purposes only and such
        information may not be used for the purposes of determining control of Debtor, the extent
        to which any individual exercised management responsibilities or functions, corporate
        decision-making authority over Debtor, or whether such individual could successfully
        argue that he or she is not an “insider” under applicable law, including the Bankruptcy
        Code, or with respect to any theories of liability or any other purpose.

                           Overview of Methodology and Disclaimers

        1.      Basis of Presentation. The Schedules and SOFA do not purport to represent
 financial statements prepared in accordance with Generally Accepted Accounting Principles in
 the United States (“GAAP”); nor are they intended to reconcile with the Debtor’s publicly
 available financial statements. The Schedules and SOFA contain unaudited information that is
 subject to further review and potential adjustment. The Schedules and SOFA reflect the
 Compilers’ reasonable efforts to report the assets, liabilities, and financial affairs of the Debtor.

         2.      Net Book Value. In certain instances, current market valuations for individual
 items of property and other assets are neither maintained by, readily available to, nor
 ascertainable by the Debtor. Accordingly, unless otherwise indicated, the Schedules and SOFA
 reflect net book values. Market values may vary, sometimes materially, from net book values.
 The Debtor does not have the resources, and believes that it would be an inefficient use of estate
 resources, for the Debtor to obtain the current market values of its assets. Accordingly, the
 Debtor has indicated in the Schedules and SOFA that the values of certain assets and liabilities
 are undetermined. Also, assets that have been fully depreciated or that were expensed for
 accounting purposes either do not appear in the Schedules and SOFA or are listed with a zero-
 dollar value, as such assets have no net book value. The omission of an asset from the Schedules
 and SOFA does not constitute a representation regarding the ownership of such asset, and any
 such omission does not constitute a waiver of any rights of Debtor with respect to such asset.

         3.      Property and Equipment. Unless otherwise indicated, owned property and
 equipment are valued at net book value. The Debtor may lease certain furniture, fixtures, and
 equipment from certain third-party lessors. Nothing in the Schedules and SOFA is, or should be
 construed as, an admission as to the determination of the legal status of any lease (including
 whether any lease is a true lease or a financing arrangement), and Debtor reserves all rights with
 respect thereto.

        4.     Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
 or “undetermined” is not intended to reflect upon the materiality of such amount.




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        5.     Totals. All totals that are included in the Schedules and SOFA represent totals of
 all known amounts. To the extent there are unknown or undetermined amounts, the actual total
 may be different than the listed total.

         6.      Setoffs. The Debtor routinely incur setoffs and net payments in the ordinary
 course of operations. Such setoffs and nettings may occur due to a variety of transactions or
 disputes. It would be unduly burdensome on the Debtor’s limited resources to list each such
 potential transaction, and all such potential setoff claims cannot be reasonably discerned at this
 time. Therefore, although such setoffs and other similar rights may have been accounted for
 when scheduling certain amounts, these ordinary course setoffs are not independently accounted
 for, and as such, are or may be excluded from the Schedules and SOFA. In addition, some
 amounts listed in the Schedules and Statements may have been affected by setoffs or nettings by
 third parties of which Debtor was not aware. The Debtor reserves all rights to challenge any
 setoff and/or recoupment rights that may be asserted.

                                  Specific Schedules Disclosures

         7.      Schedule D – Creditors Holding Secured Claims. The Debtor has not included
 on Schedule D parties that may believe their claims are secured through setoff rights or inchoate
 statutory lien rights. All parties listed on Schedule D were compiled using the most recently
 available information from the Office of the Indiana Secretary of State.

         8.     Schedule E – Creditors Holding Unsecured Priority Claims. The Debtor has
 not listed on Schedule E its employees that received payment of pre-petition wages pursuant to
 the Court’s Interim Order Interim Order Granting First Day Motion For An Order (I)
 Authorizing The Debtor To Pay And Honor Certain Pre-Petition Wages, Benefits, And Other
 Compensation Obligations; And (Ii) Authorizing Financial Institutions To Honor And Process
 Checks And Transfers Related To Such Obligations [Dkt. 58].

         9.      Schedule F – Creditors Holding Unsecured Nonpriority Claims. As of the
 time of filing of the Schedules and SOFA, the Debtor may not have received all invoices for
 payables, expenses, and other liabilities that may have accrued prior to the Petition Date.
 Accordingly, the information contained in Schedules D, E, and F may be incomplete. The Debtor
 reserves its right, but undertakes no obligation, to amend Schedules D, E, and F if and as they
 receive invoices and as the Debtor’s reviews and audits are completed. Additionally, to protect
 the identity of the sexual abuse survivors holding claims against the Debtor, the Debtor
 substituted “Jane Doe” (or variations thereof) in place of such individuals’ actual names. In some
 instances, the Debtor listed the name and address of the counsel representing such individuals.
 The Debtor also redacted the addresses of certain coaches, employees, and independent
 contractors.

         10.    Schedule G – Executory Contracts. While every effort has been made to ensure
 the accuracy of Schedule G, inadvertent errors or omissions may have occurred. Listing a
 contract or agreement on Schedule G does not constitute an admission that such contract or
 agreement is an executory contract or unexpired lease or that such contract or agreement was in
 effect on the Petition Date or is valid or enforceable. The Debtor hereby reserves all of its rights



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 to dispute the validity, status, or enforceability of any contracts, agreements, or leases set forth in
 Schedule G and to amend or supplement Schedule G as necessary.




                                     Specific SOFA Disclosures

        11.     Questions 1 and 2. The amounts listed in response to questions 1 and 2 on the
 Statements have been pulled directly from the Debtor’s audited financial statement for the period
 ending December 31, 2017. They do not represent actual gross revenue and may include items
 properly and otherwise excluded on other public reporting.

        12.    Question 7. In response to question 7 on the SOFA, the Debtor restates and
 incorporate by reference the disclaimer listed under Section 3(f) of the Global Notes and
 Statement of Limitations above.

         13.     Questions 28 and 29. For purposes of identifying officers and directors, the
 Debtor referred to the manner in which those terms are used in its Bylaws. Some of the
 individuals listed in response to questions 28 and 29 no longer serve as an officer or director of
 the Debtor. The listing of a party as an officer or director for purposes of the Schedules and
 SOFA is not intended to be, nor should it be, construed as a legal characterization of such party
 as an insider and does not act as an admission of any fact, right, claim, or defense, and all such
 rights, claims and defenses are hereby expressly reserved. The individuals have been included
 for informational purposes only and such information may not be used for the purposes of
 determining control of Debtor or the extent to which any individual exercised
 management responsibilities or functions, corporate decision making authority over the Debtor.

 Dated: January 18, 2018                                Respectfully submitted,

                                                        JENNER & BLOCK LLP

                                                        By: /s/ Catherine Steege

                                                        Catherine L. Steege (admitted pro hac vice)
                                                        Dean N. Panos (admitted pro hac vice)
                                                        Melissa M. Root (#24230-49)
                                                        353 N. Clark Street
                                                        Chicago, Illinois 60654
                                                        (312) 923-2952
                                                        csteege@jenner.com
                                                        dpanos@jenner.com
                                                        mroot@jenner.com

                                                        Counsel for the Debtor




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Debtor Name         USA Gymnastics
United States Bankruptcy Court for the Southern District of Indiana
Case number (if known):            18-09108



                                                                                                                           Check if this is an
                                                                                                                           amended filing
Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                               04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write the debtor's name and case number (if known).

Part 1:       Income



1. Gross Revenue from business


      None



      Identify the beginning and ending dates of the debtor's fiscal year, which may   Sources of Revenue                      Gross Revenue
      be a calendar year                                                                                                       (before deductions and
                                                                                                                               exclusions)
1.1                                  From 01/01/2017       To      12/31/2017             Operating a business                $25,247,890.00
                                                                                          Other



1.2                                  From 01/01/2018       To      12/04/2018             Operating a business                $23,077,166.30
                                                                                          Other



2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None



                                                                                       Description of sources of               Gross Revenue
                                                                                       revenue                                 from each
                                                                                                                               (before     source and
                                                                                                                                       deductions
                                                                                                                               exclusions)
2.1                                  From 01/01/2017       To      12/31/2017           Other Income                              $53,958.00
                                          01/01/2018               12/04/2018           Other Income                              $31,374.95




2.2                                  From July 2018        To                           Sale of Training Camp Van                  $6,000.00




Part 2:       List Certain Transfers Made Before Filing for Bankruptcy




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3. Certain payments or transfers to creditors within 90 days before filing this case
List payments of transfers - including expense reimbursements to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on
4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     None

          Creditor's name and address            Dates                 Total amount or value              Reasons for payment or transfer
                                                                                                          Check all that apply
3.1 See attached SOFA Exhibit 3.                                                                                   Secured Debt
                                                                                                                    Unsecured Loan Payments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425.
(This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not
include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general
partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor.
11 U.S.C. § 101(31).

     None

          Insider's name and address             Dates                 Total amount or value              Reasons for payment or transfer
4.1 See attached SOFA Exhibit 4.




     Relationship to debtor


5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

  X None

          Creditor's name and address            Description of the property                              Date           Value of property



6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
debtor owed a debt.

  X None



     Creditor's name and address                       Description of the action creditor took            Date action was                     Amount
                                                                                                          taken




Part 3:        Legal Actions or Assignments



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7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
involved in any capacity—within 1 year before filing this case.

      None



      Case title                               Nature of case                             Court or agency's name and address                 Status of case
7.1 See attached SOFA Exhibit 7.                                                                                                                   Pending
                                                                                                                                                   On appeal
      Case number                                                                                                                                  Concluded




8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

  X None



      Custodian's name and address             Description of the property                Value




Part 4:        Certain Gifts and Charitable Contributions



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
value of gifts to that recipient is less than $1,000


      None



      Recipient's name and address                    Description of the gifts or contributions        Dates given                         Value

9.1       National Gymnastics Foundation              Donations, Athlete Fees, and Scholarships        2017                         $107,655.00
          c/o USA Gymnastics                                                                           2018                          $92,290.00
          130 E. Washington Street
          Suite 700
          Indianapolis, IN 46204

          Recipient's relationship to debtor
          Member


Part 5:        Certain Losses




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10. All losses from fire, theft, or other casualty within 1 year before filing this case.


  X None



     Description of the property lost and           Amount of payments received for the loss Date of loss                 Value of property lost
     how the loss occurred                          If you have received payments to cover the
                                                    loss, for example, from insurance, government
                                                    compensation, or tort liability, list the total
                                                    received.
                                                    List unpaid claims on Official Form 106 A/B
                                                    (Schedule A/B: Assets - Real and Personal
                                                    Property).




Part 6:     Certain Payments of Transfers




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11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
bankruptcy relief, or filing a bankruptcy case.

       None



       Who was paid or who received the              If not money, describe any property               Dates                      Total amount or value
       transfer? Address                             transferred
11.1     Jenner & Block LLP                                                                            11/29/2018                   $150,000.00
         353 N Clark Street                                                                            12/05/2018                    $30,000.00
         Chicago, IL 60654

         Email or website address
         https://jenner.com
         Who made the payment, if not debtor?

       Who was paid or who received the              If not money, describe any property               Dates                      Total amount or value
       transfer? Address                             transferred
11.2     Miller Johnson Snell & Cummiskey                                                              12/12/2017                    $20,781.00
         PO Box 306                                                                                    12/12/2017                    $20,781.00
         Grand Rapids, MI 49501                                                                        01/09/2018                    $11,127.00
                                                                                                       01/23/2018                    $15,380.00
                                                                                                       03/13/2018                    $15,143.50
                                                                                                       04/17/2018                    $19,570.50
                                                                                                       05/08/2018                    $31,521.50
                                                                                                       06/12/2018                    $37,638.50
                                                                                                       07/25/2018                    $43,427.00
                                                                                                       08/30/2018                   $260,558.11
                                                                                                       09/19/2018                    $20,221.00
                                                                                                       09/27/2018                    $12,366.05
                                                                                                       10/04/2018                    $18,972.00
                                                                                                       10/25/2018                    $70,253.34
                                                                                                       11/20/2018                   $109,747.62
                                                                                                       11/29/2018                    $38,542.50
                                                                                                       11/29/2018                   $300,000.00




         Email or website address
         https://millerjohnson.com
         Who made the payment, if not debtor?

       Who was paid or who received the              If not money, describe any property               Dates                      Total amount or value
       transfer? Address                             transferred
11.3     Omni Management Group                                                                         12/04/2018                    $20,000.00
         5955 DeSoto Avenue, Suite #100
         Woodland Hills, CA 91367
         Email or website address
         https://www.omnimgt.com
         Who made the payment, if not debtor?

       Who was paid or who received the              If not money, describe any property               Dates                      Total amount or value
       transfer? Address                             transferred




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11.6      Plews Shadley Racher & Braun LLP                                                             04/03/2018                    $8,202.00
          1346 N Delaware St                                                                           05/08/2018                   $37,077.10
          Indianapolis, IN 46202                                                                       06/05/2018                  $131,626.09
                                                                                                       07/18/2018                   $86,253.62
                                                                                                       08/14/2018                   $47,886.43
                                                                                                       09/12/2018                  $101,264.17
                                                                                                       10/18/2018                  $173,513.00
                                                                                                       11/20/2018                   $94,674.36
                                                                                                       12/05/2018                  $220,720.04




          Email or website address
          https://www.psrb.com
          Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
case to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

  X None



       Name of trust or device                       Describe any property transferred                 Dates transfers            Total amount or value
                                                                                                       were made




13. Transfers not already listed on this statement
List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial
affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

  X None



       Who received transfer? Address.               Description of property transferred or            Date transfer was          Total amount or value
                                                     payments received or debts paid in                made
                                                     exchange.




Part 7:        Previous Locations



14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

  X Does not apply

          Address                                                                                     Dates of occupancy



Part 8:        Health Care Bankruptcies




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15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?
     No Go to Part 9.
     Yes. Fill in the information below.


          Facility name and address                    Nature of the business operation, including type of services the          If debtor provides meals
                                                       debtor provides                                                           and housing, number of
                                                                                                                                  patients in debtor's care



                                                       Location where patient records are maintained                                How are records kept?
                                                                                                                                       Electronically
                                                                                                                                          Paper

Part 9:          Personally Identifiable Information



16. Does the debtor collect and retain personally identifiable information of customers?

     No
     Yes. State the nature of the information collected and retained.       Demographic information, name, address, contact information


     Does the debtor have a privacy policy about that information?
            No
            Yes.




17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

     No Go to Part 10.
     Yes. Does the debtor serve as plan administrator?


            No. Go to Part 10.
            Yes. Fill in below:
            Name of plan                                                                            Employer identification number of plan
            United States Gymnastics Federation Employee Retirement Benefits Plan                   EIN: XX-XXXXXXX
            Has the plan been terminated?
               No
               Yes


Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
houses, cooperatives, associations, and other financial institutions.

 X None



     Financial institution name and              Last 4 digits of account       Type of account      Date account was closed,          Last balance before
     address                                     number                                              sold, moved, or                    closing or transfer
                                                                                                     transferred
                                                                                    Checking
                                                                                    Savings
                                                                                    Money Market
                                                                                    Brokerage
                                                                                    Other




19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
case.

 X None



     Depository institution name and         Names of anyone with access to it.             Description of contents                            Does debtor
     address                                 Address                                                                                           still have it?
                                                                                                                                                    No

                                                                                                                                                    Yes




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20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

     None



     Facility name and address                Names of anyone with access to it.             Description of contents                              Does debtor
                                              Address                                                                                             still have it?
20.1 Iron Mountain                            Scott Shollenbarger provides                   Documents/Records                                         No
     1000 Campus Dr                           authorization
     Collegeville, PA 1942                                                                                                                             Yes




     Facility name and address                Names of anyone with access to it.             Description of contents                              Does debtor
                                              Address                                                                                             still have it?
20.2 Sports Graphics                          Scott Shollenbarger provides                   USA Gymnastics podium, platform stage                     No
     3423 Park Davis Circle                   authorization                                  and production equipment.
     Indianapolis, IN 46235-5397                                                                                                                       Yes




Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own



21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust.
Do not list leased or rented property.

     None



     Owner's name and address                 Location of the property                       Description of the property                              Value
21.1 Pacific Alliance National Gymnastics     PNC Bank                                       Funds held to be distributed to new                   $9,772.57
     Federation (PANGF)                                                                      President of the Pacific Alliance of National
                                                                                             Gymnastics Federations




     Owner's name and address                 Location of the property                       Description of the property                              Value
21.2 USA Gymnastics State and Region          PNC Bank                                       Master Depository Account that maintains             $4,001,203.92
     Account                                                                                 all State and Region fund-raising efforts




Part 12:     Details About Environmental Information



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For the purpose of Part 12, the following definitions apply:
 - Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium)
 - Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
operated, or utilized.
 - Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
harmful substance.


22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

     No
     Yes. Provide details below.


     Case title                              Court or agency name and address              Nature of the case                                 Status of case
                                                                                                                                                    Pending
                                                                                                                                                    On appeal
    Case number                                                                                                                                     Concluded




23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

     No
     Yes. Provide details below.


     Site name and address                   Governmental unit name and                    Environmental law, if known                         Date of notice
                                             address




24. Has the debtor notified any governmental unit of any release of hazardous material?

     No
     Yes. Provide details below.


     Site name and address                   Governmental unit name and                    Environmental law, if known                         Date of notice
                                             address




Part 13:     Details About the Debtor's Business or Connections to Any Business




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25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

       None

        Business name and address              Describe the nature of                                Employer identification
                                               the business                                          number. Dates business
                                                                                                     existed
25.1    National Gymnastics Foundation         Sole Member                                           XX-XXXXXXX
                                                                                                     Founded in 1988


26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


       None

        Name and address                                                                             Dates of service
26a.1 Cathy Allen                                                                                    05/20/1985 -
      4635 Abberton Drive                                                                            Present
      Greenwood, IN 46143

26a.2 Debbie Byrd                                                                                    04/16/2012 -
      307 E. National Avenue                                                                         Present
      Indianapolis, IN 46227

26a.3 John Hewett                                                                                    08/15/1983 -
      9520 Timberline Ct.                                                                            10/18/2018
      Indianapolis, IN 46256

26a.4 Shawna Ping                                                                                    12/04/2017 -
      (State and Region                                                                              Present
      Accountant)
      806 Lawrence Avenue
      Indianapolis, IN 46227

26a.5 Scott Shollenbarger                                                                            07/15/2018 -
      130 E. Washington St.,                                                                         Present
      Suite 700
      Indianapolis, IN 46204

26a.6 Angela Conley                                                                                  02/16/2016 -
      (State and Region                                                                              10/27/2017
      Accountant)
      12622 E. 131st St
      Fishers, IN 46037

26a.7 Amy Cox                                                                                        12/14/2018 -
      72 Park Forest Dr N,                                                                           Present
      Whiteland, IN 46184

26a.8 Rachel Brazo                                                                                   09/10/2001 -
      10146 Heather Hills Road                                                                       08/01/2018
      Indianapolis, IN 46229




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26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
financial statement within 2 years before filing this case.


     None

       Name and address                                                                        Dates of service
26b.1 Crowe, LLP                                                                               2007 - 2017
      3815 River Crossing
      Parkway
      Suite 300
      Indianapolis, IN 46240


26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


     None

       Name and address                                                                        If any books of account
                                                                                               and records are
                                                                                               unavailable, explain why
26c.1 Crowe, LLP
      3815 River Crossing
      Parkway
      Suite 300
      Indianapolis, IN 46240


26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
financial statement within 2 years before filing this case.


     None

       Name and address
26d.1 Crowe, LLP
      3815 River Crossing
      Parkway
      Suite 300
      Indianapolis, IN 46240

26d.2 Office of Indiana Attorney
      General
      302 W Washington St.
      Indianapolis, IN 46204

26d.3 PNC Bank
      101 W Washington St,
      Suite 5E
      LOC: I1-Y013-05-8
      Indianapolis, IN 46255

26d.4 USOC
      1 Olympic Plaza
      Colorado Springs, CO
      80909

26d.5 Aon Risk Insurance
      Services West Inc
      1900 16th Street
      Suite 1000
      Denver, CO 80202




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27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?
       No
       Yes. Give the details about the two most recent inventories


       Name of the person who supervised                                                               Date of inventory       The dollar amount and basis
       the taking of the inventory                                                                                             (cost, market, or other basis)
                                                                                                                                      of each inventory
27.1     Sports Graphic                                                                                12/03/2017                   $107,108.15
         Name and address of the person who has possession of inventory records
         Sports Graphic



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.




        Name                            Address                       Position and nature of           % of interest, if any
                                                                      any interest
28.1    See attached SOFA
        Exhibit 28.


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members
in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

       No
       Yes. Identify below.
        Name                            Address                       Position and nature of           Period during which
                                                                      any interest                     position or interest was held
29.1    See attached SOFA
        Exhibit 29.


30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.


       Name and address of recipient                  Amount of money or description and               Dates                    Reason for providing this
                                                      value of property                                                                  value
30.1     See attached SOFA Exhibit 4.
         Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
       Yes. Identify below.
        Name of the parent corporation                                Employer identification number of the
                                                                      parent corporation




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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     No
      Yes. Identify below.
       Name of the pension fund                                          Employer identification number of the
                                                                         pension fund




Part 14:       Signature and Declaration

  WARNING       Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years or both.
  18 U.S.C. §§ 152, 1341, 1519, and 3571.

  I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
  is true and correct.

  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on.          1/18/2019
                        MM / DD / YYYY

   /s/James Scott Shollenbarger                                                Printed name   James Scott Shollenbarger
  Signature of individual signing on behalf of the debtor


  Position or relationship to the debtor      Chief Financial Officer

  Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       No

       Yes




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             STATEMENT OF FINANCIAL AFFAIRS


                                EXHIBIT
                           PART 2, QUESTION 3

       CERTAIN PAYMENTS OR TRANSFERS TO CREDITORS
          WITHIN 90 DAYS BEFORE FILING THIS CASE
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USA Gymnastics
Case No. 18-09108
SOFA Exhibit 3. Certain payments or transfers to creditors within 90 days before filing this case.

                                                                                                                                                            Document                    Description/ Last Invoice
                         Creditor Name                    Creditor Address                                                                       Date                      Amount
                                                                                                                                                             Number                             Number

A-1 Awards Inc.                                2500 North Ritter Avenue              Indianapolis, IN 46218                                     9/6/2018     085174    $     4,280.66 23544
A-1 Awards Inc.                                2500 North Ritter Avenue              Indianapolis, IN 46218                                    9/12/2018     085242    $      385.20 23544
A-1 Awards Inc.                                2500 North Ritter Avenue              Indianapolis, IN 46218                                    9/19/2018     085363    $      245.40 23544
A-1 Awards Inc.                                2500 North Ritter Avenue              Indianapolis, IN 46218                                    9/27/2018     085424    $     2,648.00 23544
A-1 Awards Inc.                                2500 North Ritter Avenue              Indianapolis, IN 46218                                    10/25/2018    085804    $        35.95 23544
A-1 Awards Inc.                                2500 North Ritter Avenue              Indianapolis, IN 46218                                    11/8/2018     085948    $     1,002.54 23544
A-1 Awards Inc.                                2500 North Ritter Avenue              Indianapolis, IN 46218                                    11/15/2018    086035    $     1,006.75 23544
A-1 Awards Inc. Total                                                                                                                                                  $     9,604.50
ABM Parking Services                           354 Gest Street                       Cincinnati, OH 45203                                      9/19/2018     085365    $      160.00 13184147
ABM Parking Services                           354 Gest Street                       Cincinnati, OH 45203                                      10/4/2018     085516    $     3,320.00 13184147
ABM Parking Services                           354 Gest Street                       Cincinnati, OH 45203                                      10/18/2018    085688    $      240.00 13184147
ABM Parking Services                           354 Gest Street                       Cincinnati, OH 45203                                      10/31/2018    085888    $     3,560.00 13184147
ABM Parking Services                           354 Gest Street                       Cincinnati, OH 45203                                      11/29/2018    086199    $     2,980.00 13184147
ABM Parking Services Total                                                                                                                                             $    10,260.00
Alexov, Ivan                                   1920 SW River Drive E305              Portland, OR 97201                                        10/10/2018    085585    $     1,686.90 OCT INVITE EXPENSE
Alexov, Ivan                                   1920 SW River Drive E305              Portland, OR 97201                                        10/25/2018    085806    $     4,234.09 OCT INVITE EXPENSE
Alexov, Ivan                                   1920 SW River Drive E305              Portland, OR 97201                                        10/31/2018    085890    $     2,090.00 OCT INVITE EXPENSE
Alexov, Ivan Total                                                                                                                                                     $     8,010.99
Alfers, Jaye Alison                            1918 Bryce Court                      Evergreen, CO 80439                                       12/3/2018     086264    $    25,000.00 INVOICE #1
Alfers, Jaye Alison Total                                                                                                                                              $    25,000.00
American Athletic, Inc                         SunTrust Banks, Inc.                  PO Box 116847                    Atlanta, GA 30368-6847   9/27/2018     085426    $    11,020.00 313025
American Athletic, Inc                         SunTrust Banks, Inc.                  PO Box 116847                    Atlanta, GA 30368-6847   10/4/2018     085517    $     2,748.60 313025
American Athletic, Inc                         SunTrust Banks, Inc.                  PO Box 116847                    Atlanta, GA 30368-6847   11/20/2018    086114    $      938.00 313025
American Athletic, Inc Total                                                                                                                                           $    14,706.60
American Specialty Insurance                   7609 W Jefferson Blvd, Suite 100      Fort Wayne, IN 46804                                      10/4/2018     085518    $   615,723.00 263525
American Specialty Insurance                   7609 W Jefferson Blvd, Suite 100      Fort Wayne, IN 46804                                      10/25/2018    085807    $   213,409.00 263525
American Specialty Insurance                   7609 W Jefferson Blvd, Suite 100      Fort Wayne, IN 46804                                      11/20/2018    086115    $   213,409.00 263525
American Specialty Insurance Total                                                                                                                                     $ 1,042,541.00
Anthem Blue Cross and Blue Shield              PO Box 6570                           Carol Stream, IL 60197-6570                               9/27/2018     085427    $    60,296.33 GROUP # 00183406
Anthem Blue Cross and Blue Shield              PO Box 6570                           Carol Stream, IL 60197-6570                               10/31/2018    085891    $    51,898.03 GROUP # 00183406
Anthem Blue Cross and Blue Shield              PO Box 6570                           Carol Stream, IL 60197-6570                               11/29/2018    086203    $    62,501.67 GROUP # 00183406
Anthem Blue Cross and Blue Shield Total                                                                                                                                $   174,696.03
AON Risk Insurance Serv West Inc               PO Box 849832                         Los Angeles, CA 90084                                     11/20/2018    086116    $   119,573.03 2900000093609
AON Risk Insurance Serv West Inc Total                                                                                                                                 $   119,573.03
APCO Worldwide LLC                             1299 Pennsylvania Ave NW, Suite 300   Washington, DC 20004                                      11/30/2018    W9759     $    50,000.00 PR RETAINER
APCO Worldwide LLC Total                                                                                                                                               $    50,000.00
Aragon, Georgianna                             820 Via Elegante NW                   Albuquerque, NM 87113                                     11/1/2018     W9668     $     4,000.00 SAFE SPORT INVESTIGA
Aragon, Georgianna                             820 Via Elegante NW                   Albuquerque, NM 87113                                     12/3/2018     W9728     $     4,000.00 SAFE SPORT INVESTIGA
Aragon, Georgianna Total                                                                                                                                               $     8,000.00
Artistic Gym World Championships               PO Box 22955                          Main Branch                      Doha, Qatar              9/20/2018     W9612     $     2,435.00 RATE-USAGYM-001
Artistic Gym World Championships               PO Box 22955                          Main Branch                      Doha, Qatar              10/3/2018     W9701     $    21,082.00 RATE-USAGYM-001
Artistic Gym World Championships               PO Box 22955                          Main Branch                      Doha, Qatar              10/15/2018    W9706     $      206.00 RATE-USAGYM-001
Artistic Gym World Championships               PO Box 22955                          Main Branch                      Doha, Qatar              10/19/2018    W9708     $     7,693.70 RATE-USAGYM-001
Artistic Gym World Championships Total                                                                                                                                 $    31,416.70

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SOFA Exhibit 3. Certain payments or transfers to creditors within 90 days before filing this case.

                                                                                                                                                             Document                    Description/ Last Invoice
                        Creditor Name                             Creditor Address                                                                Date                      Amount
                                                                                                                                                              Number                             Number

AT&T                                                   PO Box 5019                      Carol Stream, IL 60197-5019                              9/6/2018     085177    $     6,517.23 0984264400
AT&T                                                   P O Box 105414                   Atlanta, GA 30348-5414                                  9/19/2018     085368    $      528.02 93629552665725
AT&T                                                   PO Box 5019                      Carol Stream, IL 60197-5019                             10/4/2018     085521    $     5,014.10 0984264400
AT&T                                                   PO Box 5080                      Carol Stream, IL 60197-5080                             10/10/2018    085588    $        96.49 082210380411 NOV-18
AT&T                                                   PO Box 5019                      Carol Stream, IL 60197-5019                             11/8/2018     085949    $     3,752.68 0984264400
AT&T                                                   PO Box 5080                      Carol Stream, IL 60197-5080                             11/15/2018    086039    $        96.49 082210380411 NOV-18
AT&T Total                                                                                                                                                              $    16,005.01
Austring Investigations LLC                            PO Box 961                       Gig Harbor, WA 98335                                    12/3/2018     W9722     $     8,000.00 SAFE SPORT INVESTIGA
Austring Investigations LLC Total                                                                                                                                       $     8,000.00
Baker, Daniel                                          Address Redacted                                                                         9/27/2018     085430    $     4,684.69 DEC INT ELITE DEV
Baker, Daniel                                          Address Redacted                                                                         10/18/2018    085698    $     4,650.98 DEC INT ELITE DEV
Baker, Daniel                                          Address Redacted                                                                         10/31/2018    085893    $     2,337.06 DEC INT ELITE DEV
Baker, Daniel                                          Address Redacted                                                                         11/20/2018    086117    $     4,000.00 DEC INT ELITE DEV
Baker, Daniel Total                                                                                                                                                     $    15,672.73
Barnes & Thornburg LLP                                 11 South Meridian Street         Indianapolis, IN 46204                                  9/12/2018     085246    $    47,350.10 2168393
Barnes & Thornburg LLP                                 11 South Meridian Street         Indianapolis, IN 46204                                  10/25/2018    085810    $    57,545.85 2168393
Barnes & Thornburg LLP                                 11 South Meridian Street         Indianapolis, IN 46204                                  11/8/2018     085952    $    24,465.40 2168393
Barnes & Thornburg LLP                                 11 South Meridian Street         Indianapolis, IN 46204                                  11/29/2018    086206    $    25,494.20 2168393
Barnes & Thornburg LLP Total                                                                                                                                            $   154,855.55
Bezsonova, Ganna                                       3619 NE 207 St                   Apt 2306                          Adventura, FL 33180   10/18/2018    085703    $     2,800.00 RHY SQUAD CAMP HONOR
Bezsonova, Ganna                                       3619 NE 207 St                   Apt 2306                          Aventura, FL 33180    10/25/2018    085812    $     4,000.00 ELITE SQUAD CAMP HON
Bezsonova, Ganna Total                                                                                                                                                  $     6,800.00
Biggs, Tamara                                          2709 Vista Del Arroyo            San Angelo, TX 76904                                    9/19/2018     085369    $     2,600.00 NOV INVITE CAMP HONO
Biggs, Tamara                                          2709 Vista Del Arroyo            San Angelo, TX 76904                                    10/10/2018    085591    $     4,580.00 NOV INVITE CAMP HONO
Biggs, Tamara                                          2709 Vista Del Arroyo            San Angelo, TX 76904                                    10/18/2018    085704    $     2,600.00 NOV INVITE CAMP HONO
Biggs, Tamara                                          2709 Vista Del Arroyo            San Angelo, TX 76904                                    10/31/2018    085894    $     2,600.00 NOV INVITE CAMP HONO
Biggs, Tamara                                          2709 Vista Del Arroyo            San Angelo, TX 76904                                    11/20/2018    086119    $     5,200.00 NOV INVITE CAMP HONO
Biggs, Tamara Total                                                                                                                                                     $    17,580.00
CDW Direct, LLC                                        PO BOX 75723                     Chicago, IL 60675-5723                                  9/27/2018     085440    $     7,277.87 PSD2200
CDW Direct, LLC                                        PO BOX 75723                     Chicago, IL 60675-5723                                  10/18/2018    085710    $      795.26 PSD2200
CDW Direct, LLC                                        PO BOX 75723                     Chicago, IL 60675-5723                                  11/15/2018    086051    $     1,879.10 PSD2200
CDW Direct, LLC Total                                                                                                                                                   $     9,952.23
Cision US, Inc.                                        P.O. Box 417215                  Boston, MA 02241-7215                                   10/31/2018    085898    $     8,000.00 233398
Cision US, Inc. Total                                                                                                                                                   $     8,000.00
Concur Technologies Inc                                62157 Collections Center Drive   Chicago, IL 60693                                       10/25/2018    085819    $    16,321.32 101400055065
Concur Technologies Inc Total                                                                                                                                           $    16,321.32
Cottbuser Gesellschaft fur Sportforderung GmbH         Germany                                                                                  10/19/2018    W9710     $     4,165.47 MN TURNIER WCUP
Cottbuser Gesellschaft fur Sportforderung GmbH         Germany                                                                                  10/30/2018    W9719     $     4,794.28 MN TURNIER WCUP
Cottbuser Gesellschaft fur Sportforderung GmbH Total                                                                                                                    $     8,959.75
CRE 130 LLC                                            6500 City West Pkwy, Suite 440   Eden Prairie, MN 55344                                   9/5/2018     W9638     $    23,714.00 RENT
CRE 130 LLC                                            6500 City West Pkwy, Suite 440   Eden Prairie, MN 55344                                  10/1/2018     W9641     $    23,714.00 RENT
CRE 130 LLC                                            6500 City West Pkwy, Suite 440   Eden Prairie, MN 55344                                  11/1/2018     W9688     $    23,714.00 RENT
CRE 130 LLC                                            6500 City West Pkwy, Suite 440   Eden Prairie, MN 55344                                  12/3/2018     W9723     $    24,012.25 RENT
CRE 130 LLC Total                                                                                                                                                       $    95,154.25

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SOFA Exhibit 3. Certain payments or transfers to creditors within 90 days before filing this case.

                                                                                                                                                       Document                     Description/ Last Invoice
                       Creditor Name                    Creditor Address                                                                    Date                      Amount
                                                                                                                                                        Number                              Number

Crowe LLP                                    PO Box 71570                     Chicago, IL 60694-1570                                      9/27/2018     085443    $    66,750.00 705-2189944A
Crowe LLP Total                                                                                                                                                   $    66,750.00
Delta Dental Of Indiana                      16172 Collection Center Drive    Chicago, IL 60693                                           9/27/2018     085446    $     3,394.15 DELTA/IN007410001
Delta Dental Of Indiana                      16172 Collection Center Drive    Chicago, IL 60693                                           10/31/2018    085902    $     3,262.11 DELTA/IN007410001
Delta Dental Of Indiana                      16172 Collection Center Drive    Chicago, IL 60693                                           11/29/2018    086210    $     3,130.07 DELTA/IN007410001
Delta Dental Of Indiana Total                                                                                                                                     $     9,786.33
DoubleTree San Jose                          2050 Gateway Place               San Jose, CA 95110                                          9/12/2018     085265    $    49,158.52 CDTUSA
DoubleTree San Jose Total                                                                                                                                         $    49,158.52
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                            9/6/2018     085188    $      345.06 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           9/19/2018     085378    $      913.07 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           9/27/2018     085450    $     1,477.58 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           10/4/2018     085530    $      180.70 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           10/10/2018    085612    $      428.28 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           10/18/2018    085720    $     2,920.30 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           11/8/2018     085971    $     1,147.53 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           11/20/2018    086136    $      626.18 19172002
Enterprise Services                          PO Box 402383                    Atlanta, GA 30384                                           11/29/2018    086213    $      426.96 19172002
Enterprise Services Total                                                                                                                                         $     8,465.66
Epignosis LLC                                315 Montgomery Street            9th Floor                         San Francisco, CA 94104   10/24/2018    W9714     $    30,000.00 INV-3077
Epignosis LLC Total                                                                                                                                               $    30,000.00
Faegre Baker Daniels LLP                     75 Remittance Drive              Dept 6952                         Chicago, IL 60675         11/29/2018    086214    $     8,601.11 31088538
Faegre Baker Daniels LLP Total                                                                                                                                    $     8,601.11
Faehn, Rhonda                                8939 Wickham Rd                  Indianapolis, IN 46260                                      11/29/2018    086215    $    75,000.00 SETTLEMENT AGREEMENT
Faehn, Rhonda Total                                                                                                                                               $    75,000.00
Fidelity                                                                                                                                  9/11/2018     W9605     $    12,457.61 FIDELITY - 12/14 P/R
Fidelity                                                                                                                                  9/26/2018     W9614     $    12,318.96 FIDELITY - 12/14 P/R
Fidelity                                                                                                                                  10/9/2018     W9694     $    11,275.91 FIDELITY - 12/14 P/R
Fidelity                                                                                                                                  10/19/2018    W9698     $     9,729.74 FIDELITY - 12/14 P/R
Fidelity                                                                                                                                  11/6/2018     W9699     $     9,723.16 FIDELITY - 12/14 P/R
Fidelity                                                                                                                                  11/21/2018    W9749     $     8,774.87 FIDELITY - 12/14 P/R
Fidelity                                                                                                                                  11/30/2018    W9760     $     8,716.15 FIDELITY - 12/14 P/R
Fidelity Total                                                                                                                                                    $    72,996.40
First Insurance Funding                      PO Box 7000                      Carol Stream, IL 60197                                      10/31/2018    085903    $    46,380.21 900-7358062
First Insurance Funding Total                                                                                                                                     $    46,380.21
FleishmanHillard Inc                         PO Box 771733                    St Louis, MO 63177                                          9/19/2018     085380    $    60,577.04 1792051
FleishmanHillard Inc                         PO Box 771733                    St Louis, MO 63177                                          10/25/2018    085832    $    11,026.25 1792051
FleishmanHillard Inc Total                                                                                                                                        $    71,603.29
Forster, Thomas                              900 S Euclid Way                 Denver, CO 80209                                             9/5/2018     W9619     $     8,000.00 WMN HIGH PERFORMANCE
Forster, Thomas                              900 S Euclid Way                 Denver, CO 80209                                            10/1/2018     W9647     $     8,000.00 WMN HIGH PERFORMANCE
Forster, Thomas                              900 S Euclid Way                 Denver, CO 80209                                            11/1/2018     W9670     $     8,000.00 WMN HIGH PERFORMANCE
Forster, Thomas                              900 S Euclid Way                 Denver, CO 80209                                            12/3/2018     W9730     $    23,000.00 WMN HIGH PERFORMANCE
Forster, Thomas Total                                                                                                                                             $    47,000.00
Froehlich, Ron                               3600 Dunbarton Drive             Birmingham, AL 35223                                         9/5/2018     W9620     $     2,166.66 FIG REP
Froehlich, Ron                               3600 Dunbarton Drive             Birmingham, AL 35223                                        10/1/2018     W9648     $     2,166.66 FIG REP

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                        Creditor Name                      Creditor Address                                                            Date                      Amount
                                                                                                                                                   Number                             Number

Froehlich, Ron                                 3600 Dunbarton Drive                   Birmingham, AL 35223                           11/1/2018     W9671     $     2,166.66 FIG REP
Froehlich, Ron                                 3600 Dunbarton Drive                   Birmingham, AL 35223                           12/3/2018     W9731     $     2,166.66 FIG REP
Froehlich, Ron Total                                                                                                                                         $     8,666.64
G3 Global Services                             1951 N Military Trail, Suite D         West Palm Beach, FL 33409                      9/12/2018     085271    $    19,057.00 USAGYMRUS-EXP
G3 Global Services                             1951 N Military Trail, Suite D         West Palm Beach, FL 33409                      11/29/2018    086216    $      268.00 USAGYMRUS-EXP
G3 Global Services Total                                                                                                                                     $    19,325.00
Gems Sports Inc.                               22122 Braddock Place                   Boca Raton, FL 33428                            9/5/2018     W9639     $     1,958.33 NATIONAL COACH STAFF
Gems Sports Inc.                               22122 Braddock Place                   Boca Raton, FL 33428                           10/1/2018     W9642     $     1,958.33 NATIONAL COACH STAFF
Gems Sports Inc.                               22122 Braddock Place                   Boca Raton, FL 33428                           11/1/2018     W9689     $     1,958.33 NATIONAL COACH STAFF
Gems Sports Inc.                               22122 Braddock Place                   Boca Raton, FL 33428                           12/3/2018     W9724     $     1,958.33 NATIONAL COACH STAFF
Gems Sports Inc. Total                                                                                                                                       $     7,833.32
Global Spectrum                                650 Okeechobee Blvd                    West Palm Beach, FL 33401                      10/18/2018    085727    $     8,500.00 2018-0123
Global Spectrum Total                                                                                                                                        $     8,500.00
Gluckstein, Jeffrey                            60 Ocean Boulevard                     Atlantic Highlands, NJ 07716                    9/5/2018     W9621     $      600.00 GLUCKSTEIN/FUNDING
Gluckstein, Jeffrey                            60 Ocean Boulevard                     Atlantic Highlands, NJ 07716                   9/12/2018     085274    $      600.00 GLUCKSTEIN/FUNDING
Gluckstein, Jeffrey                            60 Ocean Boulevard                     Atlantic Highlands, NJ 07716                   9/27/2018     085456    $     1,574.64 GLUCKSTEIN/FUNDING
Gluckstein, Jeffrey                            60 Ocean Boulevard                     Atlantic Highlands, NJ 07716                   10/1/2018     W9649     $      600.00 GLUCKSTEIN/FUNDING
Gluckstein, Jeffrey                            60 Ocean Boulevard                     Atlantic Highlands, NJ 07716                   10/18/2018    085728    $     1,500.00 GLUCKSTEIN/FUNDING
Gluckstein, Jeffrey                            60 Ocean Boulevard                     Atlantic Highlands, NJ 07716                   11/1/2018     W9672     $      900.00 GLUCKSTEIN/FUNDING
Gluckstein, Jeffrey                            60 Ocean Boulevard                     Atlantic Highlands, NJ 07716                   12/3/2018     W9732     $      750.00 GLUCKSTEIN/FUNDING
Gluckstein, Jeffrey Total                                                                                                                                    $     6,524.64
Gym Fun Management Co LLC                      110 N IH 35, Suite 315-333             Round Rock, TX 78681                           11/1/2018     W9690     $     4,000.00 DEC CONT DUE FUNDS
Gym Fun Management Co LLC                      110 N IH 35, Suite 315-333             Round Rock, TX 78681                           12/3/2018     W9725     $     4,000.00 DEC CONT DUE FUNDS
Gym Fun Management Co LLC                      110 N IH 35, Suite 315-333             Round Rock, TX 78681                           12/4/2018     W9761     $     3,500.00 DEC CONT DUE FUNDS
Gym Fun Management Co LLC Total                                                                                                                              $    11,500.00
Hilder & Associates PC                         819 Lovett Blvd                        Houston, TX 77006                               9/6/2018     085192    $    37,492.67 13439
Hilder & Associates PC                         819 Lovett Blvd                        Houston, TX 77006                              10/4/2018     085539    $     1,654.17 13439
Hilder & Associates PC                         819 Lovett Blvd                        Houston, TX 77006                              10/10/2018    085626    $     9,301.17 13439
Hilder & Associates PC                         819 Lovett Blvd                        Houston, TX 77006                              11/8/2018     085977    $    13,766.27 13439
Hilder & Associates PC                         819 Lovett Blvd                        Houston, TX 77006                              11/29/2018    086221    $    65,265.16 13439
Hilder & Associates PC                         819 Lovett Blvd                        Houston, TX 77006                              12/3/2018     086265    $    18,127.66 13439
Hilder & Associates PC Total                                                                                                                                 $   145,607.10
Hoffman, Cheryl Marie                          4749 Fairhill Drive SE                 Buffalo, MN 55313                              10/4/2018     085540    $     4,600.00 TT COP APPLE BOOK
Hoffman, Cheryl Marie                          4749 Fairhill Drive SE                 Buffalo, MN 55313                              10/18/2018    085732    $     3,000.00 TT COP APPLE BOOK
Hoffman, Cheryl Marie Total                                                                                                                                  $     7,600.00
Holiday Inn Sarasota Airport                   8009 15th St E                         Sarasota, FL 34243                             10/25/2018    085842    $    19,360.40 USAGYM 10/03/18
Holiday Inn Sarasota Airport Total                                                                                                                           $    19,360.40
Indiana Dept of Workforce Development          10 North Senate Avenue, SE202          Indianapolis, IN 46204-2277                    9/19/2018     085385    $     3,510.00 230206 NOV BENEFITS
Indiana Dept of Workforce Development          10 North Senate Avenue, SE202          Indianapolis, IN 46204-2277                    10/10/2018    085629    $     5,070.00 230206 NOV BENEFITS
Indiana Dept of Workforce Development          10 North Senate Avenue, SE202          Indianapolis, IN 46204-2277                    11/8/2018     085979    $     5,850.00 230206 NOV BENEFITS
Indiana Dept of Workforce Development Total                                                                                                                  $    14,430.00
Jenner & Block LLP                             353 N Clark Street                     Chicago, IL 60654                              11/29/2018    W9756     $   150,000.00 LEGAL RETAINER
Jenner & Block LLP                             353 N Clark Street                     Chicago, IL 60654                              12/5/2018               $    30,000.00 LEGAL RETAINER
Jenner & Block LLP Total                                                                                                                                     $   180,000.00

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                                                                                                                                                             Document                    Description/ Last Invoice
                       Creditor Name                         Creditor Address                                                                     Date                      Amount
                                                                                                                                                              Number                             Number

Johns Hopkins All Children's Hospital Inc         Sports Med/USAG/Attn: Finance   501 6th Ave South                   St Petersburg, FL 33701   10/18/2018    085736    $    32,233.51 71210-003
Johns Hopkins All Children's Hospital Inc         Sports Med/USAG/Attn: Finance   501 6th Ave South                   St Petersburg, FL 33701   11/8/2018     085981    $    11,546.00 71210-003
Johns Hopkins All Children's Hospital Inc Total                                                                                                                         $    43,779.51
Joy's Jym, LLC                                    52 Friendship Lane              Estill Springs, TN 37330                                       9/5/2018     W9640     $     4,000.00 T&T FUNDING
Joy's Jym, LLC                                    52 Friendship Lane              Estill Springs, TN 37330                                      9/27/2018     085467    $      187.08 T&T FUNDING
Joy's Jym, LLC                                    52 Friendship Lane              Estill Springs, TN 37330                                      10/1/2018     W9643     $     2,000.00 T&T FUNDING
Joy's Jym, LLC                                    52 Friendship Lane              Estill Springs, TN 37330                                      11/1/2018     W9691     $     2,000.00 T&T FUNDING
Joy's Jym, LLC                                    52 Friendship Lane              Estill Springs, TN 37330                                      11/20/2018    086153    $      209.97 T&T FUNDING
Joy's Jym, LLC                                    52 Friendship Lane              Estill Springs, TN 37330                                      11/29/2018    086225    $      136.61 T&T FUNDING
Joy's Jym, LLC                                    52 Friendship Lane              Estill Springs, TN 37330                                      12/3/2018     W9726     $     2,000.00 T&T FUNDING
Joy's Jym, LLC Total                                                                                                                                                    $    10,533.66
Kruse, David                                      20802 Lancelot Lane             Huntington Beach, CA 92646                                     9/5/2018     W9624     $      833.33 ATHL CARE COORD
Kruse, David                                      20802 Lancelot Lane             Huntington Beach, CA 92646                                    9/27/2018     085473    $     1,770.00 ATHL CARE COORD
Kruse, David                                      20802 Lancelot Lane             Huntington Beach, CA 92646                                    10/1/2018     W9652     $      833.33 ATHL CARE COORD
Kruse, David                                      20802 Lancelot Lane             Huntington Beach, CA 92646                                    10/10/2018    085636    $        70.00 ATHL CARE COORD
Kruse, David                                      20802 Lancelot Lane             Huntington Beach, CA 92646                                    11/1/2018     W9675     $      833.33 ATHL CARE COORD
Kruse, David                                      20802 Lancelot Lane             Huntington Beach, CA 92646                                    11/8/2018     085987    $     3,820.00 ATHL CARE COORD
Kruse, David                                      20802 Lancelot Lane             Huntington Beach, CA 92646                                    12/3/2018     W9735     $      833.33 ATHL CARE COORD
Kruse, David Total                                                                                                                                                      $     8,993.32
Lake Frances Retreats                             272 Lake Frances Road           Crossville, TN 38571                                          9/27/2018     085474    $    10,140.00 12/4-7 TOPS-B
Lake Frances Retreats                             272 Lake Frances Road           Crossville, TN 38571                                          10/4/2018     085546    $    18,060.00 12/4-7 TOPS-B
Lake Frances Retreats                             272 Lake Frances Road           Crossville, TN 38571                                          10/18/2018    085742    $    16,380.00 12/4-7 TOPS-B
Lake Frances Retreats                             272 Lake Frances Road           Crossville, TN 38571                                          11/8/2018     085989    $    40,320.00 12/4-7 TOPS-B
Lake Frances Retreats                             272 Lake Frances Road           Crossville, TN 38571                                          11/29/2018    086227    $    52,920.00 12/4-7 TOPS-B
Lake Frances Retreats Total                                                                                                                                             $   137,820.00
Lincoln Financial Group                           PO Box 0821                     Carol Stream, IL 60132-0821                                   9/27/2018     085478    $     2,754.62 LINCOLN/ BL1537475
Lincoln Financial Group                           PO Box 0821                     Carol Stream, IL 60132-0821                                   10/31/2018    085916    $     2,392.74 LINCOLN/ BL1537475
Lincoln Financial Group                           PO Box 0821                     Carol Stream, IL 60132-0821                                   11/29/2018    086230    $     2,505.64 LINCOLN/ BL1537475
Lincoln Financial Group Total                                                                                                                                           $     7,653.00
Main Event Apparel                                6880 Hillsdale Court            Indianapolis, IN 46250                                        9/19/2018     085395    $     5,472.14 141985
Main Event Apparel                                6880 Hillsdale Court            Indianapolis, IN 46250                                        9/27/2018     085479    $     8,868.96 141985
Main Event Apparel                                6880 Hillsdale Court            Indianapolis, IN 46250                                        11/8/2018     085993    $     1,349.13 141985
Main Event Apparel Total                                                                                                                                                $    15,690.23
Mamzina, Margarita                                949 Waukegan Rd., 2B            Deerfield, IL 60015                                            9/5/2018     W9627     $     2,000.00 RG NATIONAL COACH
Mamzina, Margarita                                949 Waukegan Rd., 2B            Deerfield, IL 60015                                           10/1/2018     W9655     $     2,000.00 RG NATIONAL COACH
Mamzina, Margarita                                949 Waukegan Rd., 2B            Deerfield, IL 60015                                           11/1/2018     W9678     $     2,000.00 RG NATIONAL COACH
Mamzina, Margarita                                949 Waukegan Rd., 2B            Deerfield, IL 60015                                           12/3/2018     W9738     $     2,000.00 RG NATIONAL COACH
Mamzina, Margarita Total                                                                                                                                                $     8,000.00
Marriott Business Services                        P.O. Box 402642                 Atlanta, GA 30384-2642                                        10/10/2018    085640    $   149,165.81 33787059059
Marriott Business Services Total                                                                                                                                        $   149,165.81
Marriott Columbus University Area                 3100 Olentangy River Rd         Columubs, OH 43212                                             9/6/2018     085206    $    28,922.94 11802
Marriott Columbus University Area Total                                                                                                                                 $    28,922.94
McDaniel, Mary E                                  445 Cross Creek Rd              Auburn, AL 36832                                               9/5/2018     W9628     $     4,000.00 100
McDaniel, Mary E                                  445 Cross Creek Rd              Auburn, AL 36832                                              9/27/2018     085480    $      641.91 100

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                                                                                                                                                           Number                             Number

McDaniel, Mary E                               445 Cross Creek Rd                    Auburn, AL 36832                                        10/1/2018     W9656     $     4,000.00 100
McDaniel, Mary E                               445 Cross Creek Rd                    Auburn, AL 36832                                        10/25/2018    085852    $      203.18 100
McDaniel, Mary E                               445 Cross Creek Rd                    Auburn, AL 36832                                        11/8/2018     085997    $      346.67 100
McDaniel, Mary E                               445 Cross Creek Rd                    Auburn, AL 36832                                        11/15/2018    086074    $     1,200.00 100
McDaniel, Mary E Total                                                                                                                                               $    10,391.76
Miller Johnson Snell & Cummiskey               PO Box 306                            Grand Rapids, MI 49501                                  9/19/2018     085398    $    20,221.00 LEGAL RETAINER
Miller Johnson Snell & Cummiskey               PO Box 306                            Grand Rapids, MI 49501                                  9/27/2018     085482    $    12,366.05 LEGAL RETAINER
Miller Johnson Snell & Cummiskey               PO Box 306                            Grand Rapids, MI 49501                                  10/4/2018     085553    $    18,972.00 LEGAL RETAINER
Miller Johnson Snell & Cummiskey               PO Box 306                            Grand Rapids, MI 49501                                  10/25/2018    085856    $    70,253.34 LEGAL RETAINER
Miller Johnson Snell & Cummiskey               PO Box 306                            Grand Rapids, MI 49501                                  11/20/2018    086167    $   109,747.62 LEGAL RETAINER
Miller Johnson Snell & Cummiskey               PO Box 306                            Grand Rapids, MI 49501                                  11/29/2018    086236    $    38,542.50 LEGAL RETAINER
Miller Johnson Snell & Cummiskey               PO Box 306                            Grand Rapids, MI 49501                                  11/29/2018    W9757     $   300,000.00 LEGAL RETAINER
Miller Johnson Snell & Cummiskey Total                                                                                                                               $   570,102.51
Moldauer, Yul                                  1617 Sumac Dr                         Norman, OK 73071                                        10/10/2018    085649    $    13,128.40 WORLDS PDIEM 2018
Moldauer, Yul                                  1617 Sumac Dr                         Norman, OK 73071                                        10/31/2018    085918    $    13,128.40 WORLDS PDIEM 2018
Moldauer, Yul Total                                                                                                                                                  $    26,256.80
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                        9/6/2018     085210    $      565.19 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       9/19/2018     085399    $     1,808.07 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       9/27/2018     085484    $      277.40 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       10/4/2018     085557    $     1,083.43 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       10/10/2018    085651    $      536.36 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       10/18/2018    085755    $      730.80 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       11/15/2018    086076    $      285.95 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       11/20/2018    086169    $      752.36 19088124
National Car Rental                            PO Box 402383                         Atlanta, GA 30384                                       11/29/2018    086239    $     4,224.36 19088124
National Car Rental Total                                                                                                                                            $    10,263.92
National Gymnastics Foundation                 130 E. Washington Street, Suite 700   Indianapolis, IN 46204                                  10/18/2018    085756    $    37,072.83 NET LIUKIN EVENT
National Gymnastics Foundation Total                                                                                                                                 $    37,072.83
NBC Universal Media LLC                        PO Box 402971                         Atlanta, GA 30384                                       10/18/2018    085757    $   450,000.00 1800000748L0A3
NBC Universal Media LLC Total                                                                                                                                        $   450,000.00
NFP Property & Casualty Services               75 Remittance Dr                      Dept 6902                           Chicago, IL 60675   10/10/2018    085653    $    23,513.50 276458
NFP Property & Casualty Services               75 Remittance Dr                      Dept 6902                           Chicago, IL 60675   10/31/2018    085923    $     2,803.00 276458
NFP Property & Casualty Services Total                                                                                                                               $    26,316.50
North Shore Rhythmic Gymnastics Center         455 Lake Cook Road                    Deerfield, IL 60015                                     10/9/2018     W9703     $     7,000.00 INV 15
North Shore Rhythmic Gymnastics Center         455 Lake Cook Road                    Deerfield, IL 60015                                     11/29/2018    086240    $     3,000.00 INV 15
North Shore Rhythmic Gymnastics Center Total                                                                                                                         $    10,000.00
Objectix, Inc.                                 32565 B Golden Lantern #505           Dana Point, CA 92629                                    9/20/2018     W9613     $    10,635.00 REG 7 WMN AIRFARE
Objectix, Inc. Total                                                                                                                                                 $    10,635.00
Omni Management Group                          5955 Desoto Avenue                    Woodland Hills, CA 91367                                12/4/2018     W9762     $    20,000.00 RETAINER
Omni Management Group Total                                                                                                                                          $    20,000.00
Omni Rhode Island LLC                          One West Exchange Street              Providence, RI 02903                                    9/19/2018     085403    $    32,012.56 435810
Omni Rhode Island LLC Total                                                                                                                                          $    32,012.56
Perskaia, Tatiana                              7633 Hamelin Lane                     Gainesville, VA 20155                                    9/5/2018     W9631     $     1,500.00 NOV NT CAMP '18 EXP
Perskaia, Tatiana                              7633 Hamelin Lane                     Gainesville, VA 20155                                   9/12/2018     085325    $     2,804.19 NOV NT CAMP '18 EXP

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Perskaia, Tatiana                              7633 Hamelin Lane                  Gainesville, VA 20155                                 9/27/2018     085489    $     5,019.37 NOV NT CAMP '18 EXP
Perskaia, Tatiana                              7633 Hamelin Lane                  Gainesville, VA 20155                                 10/1/2018     W9659     $     1,500.00 NOV NT CAMP '18 EXP
Perskaia, Tatiana                              7633 Hamelin Lane                  Gainesville, VA 20155                                 10/18/2018    085764    $     2,700.00 NOV NT CAMP '18 EXP
Perskaia, Tatiana                              7633 Hamelin Lane                  Gainesville, VA 20155                                 10/25/2018    085863    $        77.32 NOV NT CAMP '18 EXP
Perskaia, Tatiana                              7633 Hamelin Lane                  Gainesville, VA 20155                                 11/1/2018     W9681     $     1,500.00 NOV NT CAMP '18 EXP
Perskaia, Tatiana                              7633 Hamelin Lane                  Gainesville, VA 20155                                 12/3/2018     W9741     $     1,500.00 NOV NT CAMP '18 EXP
Perskaia, Tatiana Total                                                                                                                                         $    16,600.88
Pierce Atwood LLP                              Accounting/Merrill's Wharf         254 Commercial Street            Portland, ME 04101   10/25/2018    085864    $    35,216.80 LEGAL RETAINER
Pierce Atwood LLP                              Accounting/Merrill's Wharf         254 Commercial Street            Portland, ME 04101   10/31/2018    085926    $    14,630.00 LEGAL RETAINER
Pierce Atwood LLP                              Accounting/Merrill's Wharf         254 Commercial Street            Portland, ME 04101   11/29/2018    086244    $    57,542.00 LEGAL RETAINER
Pierce Atwood LLP                              Accounting/Merrill's Wharf         254 Commercial Street            Portland, ME 04101   11/29/2018    W9758     $    50,000.00 LEGAL RETAINER
Pierce Atwood LLP Total                                                                                                                                         $   157,388.80
Pinnacle Solutions Inc                         152 E Washington St                Indianapolis, IN 46204                                 9/6/2018     085217    $     2,100.00 395025380
Pinnacle Solutions Inc                         152 E Washington St                Indianapolis, IN 46204                                10/4/2018     085559    $     2,100.00 395025380
Pinnacle Solutions Inc                         152 E Washington St                Indianapolis, IN 46204                                10/31/2018    085927    $     2,100.00 395025380
Pinnacle Solutions Inc                         152 E Washington St                Indianapolis, IN 46204                                11/29/2018    086245    $     2,100.00 395025380
Pinnacle Solutions Inc Total                                                                                                                                    $     8,400.00
Plews Shadley Racher & Braun LLP               1346 N Delaware Street             Indianapolis, IN 46202                                9/12/2018     085326    $   101,264.17 28112018
Plews Shadley Racher & Braun LLP               1346 N Delaware Street             Indianapolis, IN 46202                                10/18/2018    085767    $   173,513.00 28112018
Plews Shadley Racher & Braun LLP               1346 N Delaware Street             Indianapolis, IN 46202                                11/20/2018    086175    $    94,674.36 28112018
Plews Shadley Racher & Braun LLP               1346 N Delaware Street             Indianapolis, IN 46202                                12/3/2018     086266    $   220,720.04 28112018
Plews Shadley Racher & Braun LLP Total                                                                                                                          $   590,171.57
PNC Bank                                       P.O. Box 828702                    Philadelphia, PA 19182                                9/26/2018     W9615     $    50,000.00 10/24 PNC CORP CARD
PNC Bank                                       P.O. Box 828702                    Philadelphia, PA 19182                                10/19/2018    W9709     $    75,000.00 10/24 PNC CORP CARD
PNC Bank                                       P.O. Box 828702                    Philadelphia, PA 19182                                10/24/2018    W9715     $   125,000.00 10/24 PNC CORP CARD
PNC Bank Total                                                                                                                                                  $   250,000.00
Ritter, Craig                                  315 Simon Bolivar Drive            Henderson, NV 89014                                    9/5/2018     W9632     $     6,083.33 MONTHLY STIPEND
Ritter, Craig                                  315 Simon Bolivar Drive            Henderson, NV 89014                                   10/1/2018     W9660     $     6,083.33 MONTHLY STIPEND
Ritter, Craig                                  315 Simon Bolivar Drive            Henderson, NV 89014                                   11/1/2018     W9682     $     6,083.33 MONTHLY STIPEND
Ritter, Craig                                  315 Simon Bolivar Drive            Henderson, NV 89014                                   12/3/2018     W9742     $     6,083.33 MONTHLY STIPEND
Ritter, Craig Total                                                                                                                                             $    24,333.32
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                         9/5/2018     W9634     $     3,166.67 RHY OPEN CAMP EXP
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                        9/19/2018     085407    $      138.00 RHY OPEN CAMP EXP
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                        9/27/2018     085496    $        60.10 RHY OPEN CAMP EXP
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                        10/1/2018     W9662     $     3,166.67 RHY OPEN CAMP EXP
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                        10/10/2018    085667    $     1,934.57 RHY OPEN CAMP EXP
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                        11/1/2018     W9684     $     3,166.67 RHY OPEN CAMP EXP
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                        11/29/2018    086248    $        59.23 RHY OPEN CAMP EXP
Savenkova, Elena                               4295 Oak Orchard Road              Clay, NY 13041                                        12/3/2018     W9744     $     3,166.67 RHY OPEN CAMP EXP
Savenkova, Elena Total                                                                                                                                          $    14,858.58
Scramble Systems LLC                           c/o Stephen Douglass               1775 Tysons Blvd                 McLean, VA 22102     12/4/2018     W9764     $    69,768.75 USAG300-122018
Scramble Systems LLC Total                                                                                                                                      $    69,768.75
Security Concepts Group                        848 N Rainbow Blvd #4852           Las Vegas, NV 89107                                   9/12/2018     085339    $     3,625.44 1027 TT WORLDS
Security Concepts Group                        848 N Rainbow Blvd #4852           Las Vegas, NV 89107                                   9/19/2018     085409    $     2,340.00 1027 TT WORLDS

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                                                                                                                                                 Document                    Description/ Last Invoice
                       Creditor Name                      Creditor Address                                                            Date                      Amount
                                                                                                                                                  Number                             Number

Security Concepts Group                        848 N Rainbow Blvd #4852              Las Vegas, NV 89107                            10/10/2018    085670    $    14,723.63 1027 TT WORLDS
Security Concepts Group                        848 N Rainbow Blvd #4852              Las Vegas, NV 89107                            10/18/2018    085777    $     3,514.00 1027 TT WORLDS
Security Concepts Group                        848 N Rainbow Blvd #4852              Las Vegas, NV 89107                            10/31/2018    085933    $     4,540.00 1027 TT WORLDS
Security Concepts Group                        848 N Rainbow Blvd #4852              Las Vegas, NV 89107                            11/15/2018    086090    $    17,932.54 1027 TT WORLDS
Security Concepts Group                        848 N Rainbow Blvd #4852              Las Vegas, NV 89107                            11/20/2018    086182    $     9,160.00 1027 TT WORLDS
Security Concepts Group Total                                                                                                                               $    55,835.61
Sheraton Greensboro Hotel                      3121 West Gate City Blvd              Greensboro, NC 27407                           10/4/2018     085566    $    80,784.70 53600 USAGYM CHAMP
Sheraton Greensboro Hotel Total                                                                                                                             $    80,784.70
Shollenbarger, Scott                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                         11/29/2018    086251    $    15,000.00 2018 RELOCATE
Shollenbarger, Scott Total                                                                                                                                  $    15,000.00
SMG - Rhode Island Convention Cntr             One Sabin St.                         Providence, RI 02903                           9/19/2018     085411    $     8,812.41 REG 6 FACIL RENT PPD
SMG - Rhode Island Convention Cntr             One Sabin St.                         Providence, RI 02903                           11/8/2018     086018    $     3,000.00 REG 6 FACIL RENT PPD
SMG - Rhode Island Convention Cntr Total                                                                                                                    $    11,812.41
Smirnov, Vladimir                              252 18th Avenue SE                    Hickory, NC 28602                              10/18/2018    085781    $     2,132.88 OCT INVITE EXPENSE
Smirnov, Vladimir                              252 18th Avenue SE                    Hickory, NC 28602                              10/31/2018    085936    $     4,450.37 OCT INVITE EXPENSE
Smirnov, Vladimir Total                                                                                                                                     $     6,583.25
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    9/12/2018     085346    $     4,759.01 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    9/19/2018     085412    $     3,409.00 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    9/27/2018     085498    $    83,362.93 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    10/10/2018    085672    $      158.00 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    10/18/2018    085784    $      390.00 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    10/25/2018    085875    $    48,292.40 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    10/31/2018    085938    $    14,651.84 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    11/8/2018     086021    $     2,266.00 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    11/15/2018    086095    $    61,603.96 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    11/20/2018    086184    $    32,171.23 738143 BUS CARDS
Sport Graphics, Inc.                           3423 Park Davis Circle                Indianapolis, IN 46235-2397                    11/29/2018    086255    $     6,875.00 738143 BUS CARDS
Sport Graphics, Inc. Total                                                                                                                                  $   257,939.37
SSI, Inc                                       PO Box 98991                          Chicago, IL 60693                              11/8/2018     086023    $    45,834.00 323791
SSI, Inc Total                                                                                                                                              $    45,834.00
United States Olympic Committee                1 Olympic Plaza                       Colorado Springs, CO 80909-5760                10/18/2018    085796    $    22,740.00 INV0022181
United States Olympic Committee                1 Olympic Plaza                       Colorado Springs, CO 80909-5760                11/15/2018    086101    $    20,400.00 INV0022181
United States Olympic Committee Total                                                                                                                       $    43,140.00
USGF Payroll Account                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                          9/6/2018     W9578     $   136,763.11 PNC - 12/14 PAYROLL
USGF Payroll Account                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                         9/17/2018     W9609     $   137,631.17 PNC - 12/14 PAYROLL
USGF Payroll Account                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                         10/3/2018     W9693     $   149,159.15 PNC - 12/14 PAYROLL
USGF Payroll Account                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                         10/17/2018    W9696     $   135,775.43 PNC - 12/14 PAYROLL
USGF Payroll Account                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                         10/31/2018    W9697     $   138,629.72 PNC - 12/14 PAYROLL
USGF Payroll Account                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                         11/14/2018    W9720     $   162,121.08 PNC - 12/14 PAYROLL
USGF Payroll Account                           130 E. Washington Street, Suite 700   Indianapolis, IN 46204                         11/28/2018    W9721     $   269,948.39 PNC - 12/14 PAYROLL
USGF Payroll Account Total                                                                                                                                  $ 1,130,028.05
White & Amundson APC                           402 W Broadway, Suite 1140            San Diego, CA 92101                            10/10/2018    085683    $    72,690.56 23579
White & Amundson APC Total                                                                                                                                  $    72,690.56
Zmeskal-Burdette, Kim                          Address Redacted                                                                     11/15/2018    086107    $     8,000.00 WORLD CLUB SUPPORT

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                                                                                                                                        Document                     Description/ Last Invoice
                    Creditor Name                      Creditor Address                                                      Date                       Amount
                                                                                                                                         Number                              Number

Zmeskal-Burdette, Kim                        Address Redacted                                                              11/20/2018    086197     $     1,000.00 WORLD CLUB SUPPORT
Zmeskal-Burdette, Kim Total                                                                                                                         $     9,000.00
Zuckerman Spaeder LLP                        1800 M Street NW, Ste 1000         Washington, DC 20036                       11/29/2018    086263     $    26,814.96 309985
Zuckerman Spaeder LLP Total                                                                                                                         $    26,814.96
                                                                                                                                        Grand Total $ 7,266,793.47




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             STATEMENT OF FINANCIAL AFFAIRS


                                EXHIBIT
                           PART 2, QUESTION 4

    PAYMENTS OR OTHER TRANSFERS OF PROPERTY MADE
       WITHIN 1 YEAR BEFORE FILING THIS CASE THAT
                 BENEFITTED ANY INSIDER
                        Case 18-09108-RLM-11               Doc 206       Filed 01/18/19       EOD 01/18/19 22:24:14                 Pg 32 of 49
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                                                                                                             Total Amount or
       Insider's Name                                Insider's Address                         Date                                 Reasons for payment or transfer
                                                                                                                  Value
Austin White               32 Dunes Blf                            Newport Coast, CA 92657    02/01/18   $           1,000.00   Jan EDP Camp
Austin White Total                                                                                       $           1,000.00
Ava Gehringer              1733 Asbury Ave                         Evanston, IL 60201         06/05/18   $              75.00   Parking
Ava Gehringer Total                                                                                      $              75.00
Bob Meier                  111 Garlic Avenue                       Morgan Hill, CA 95037      03/13/18   $             483.52   Rental Car, Tolls
Bob Meier                  111 Garlic Avenue                       Morgan Hill, CA 95037      06/26/18   $           1,400.00   AcroProdMgr (6) Days
Bob Meier                  111 Garlic Avenue                       Morgan Hill, CA 95037      07/25/18   $              29.33   Rental Car Fuel
Bob Meier Total                                                                                          $           1,912.85
Brent Lang                 130 E. Washington St., Suite 700        Indianapolis, IN 46204     07/18/18   $             134.72   Uber, Meal 7/11 Mtg
Brent Lang                 130 E. Washington St., Suite 700        Indianapolis, IN 46205     11/29/18   $             133.75   Parking, Meal
Brent Lang Total                                                                                         $             268.47
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          01/09/18   $             666.67   Acro HP Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          02/01/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          02/13/18   $             309.80   Meal, Parking
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          02/13/18   $             505.00   Judge (13.5) Hours
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          03/01/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          04/02/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          05/01/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          06/01/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          07/02/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          08/01/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          08/01/18   $           1,050.00   Rhy/Jdg (15) Session
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          09/05/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          10/01/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          11/01/18   $             666.67   Acro Contract
Carisa Laughon             10528 Chestnut Hill Circle              Fishers, IN 46037          12/03/18   $             666.67   Acro Contract
Carisa Laughon Total                                                                                     $           9,864.84
Cindy Bickman              700 Trinity Church Road                 Canton, GA 30115           08/22/18   $             300.00   Spkr (2) Lectures
Cindy Bickman Total                                                                                      $             300.00
Claudia Kretschmer         555 Hines Drive                         Ann Arbor, MI 48108        08/22/18   $             300.00   Spkr (3) Lectures
Claudia Kretschmer         555 Hines Drive                         Ann Arbor, MI 48108        08/30/18   $             326.57   Room (1) Night
Claudia Kretschmer         555 Hines Drive                         Ann Arbor, MI 48108        08/30/18   $             750.00   Xcel Code Proofer
Claudia Kretschmer         555 Hines Drive                         Ann Arbor, MI 48108        09/27/18   $             750.00   Spkr (5) Lectures
Claudia Kretschmer Total                                                                                 $           2,126.57
David Rudd                 130 E. Washington St., Suite 700        Indianapolis, IN 46205     04/03/18   $             191.84   Mileage 3/28/18
David Rudd                 130 E. Washington St., Suite 700        Indianapolis, IN 46205     05/01/18   $             192.93   Mileage
David Rudd                 130 E. Washington St., Suite 700        Indianapolis, IN 46205     07/18/18   $             192.93   Mileage 7/12 BOD
David Rudd                 130 E. Washington St., Suite 700        Indianapolis, IN 46205     09/06/18   $             192.93   Mileage
David Rudd Total                                                                                         $             770.63
Davonshe Galimore          11413 Old Stone Drive                   Indianapolis, IN 46236     07/11/18   $             170.00   Passport
Davonshe Galimore          11413 Old Stone Drive                   Indianapolis, IN 46236     11/30/18   $          38,500.00   Severance
Davonshe Galimore Total                                                                                  $          38,670.00
Dylan Maurer               130 E. Washington St., Suite 700        Indianapolis, IN 46205     08/22/18   $             200.00   Maurer/Spkr (1) Lectures

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                                                                                                             Total Amount or
       Insider's Name                                Insider's Address                         Date                                 Reasons for payment or transfer
                                                                                                                  Value
Dylan Maurer Total                                                                                       $             200.00
Evelyn Chandler              3358 Sagebrush St                     Harmony, FL 34773          07/11/18   $             150.00   Spkr (1) Lecture
Evelyn Chandler              3358 Sagebrush St                     Harmony, FL 34773          08/22/18   $             100.00   Spkr (1) Lectures
Evelyn Chandler Total                                                                                    $             250.00
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     12/21/17   $              65.42   Uber To/From Airport
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     03/13/18   $              44.66
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     04/03/18   $              79.53   Uber, Meals
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     04/17/18   $             149.27   Uber, Meals
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/08/18   $              91.38   Uber, Meal, Wifi
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/29/18   $              88.22   Uber
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     07/18/18   $              95.69   Uber, Meal 7/11 Mtg
Ivana Hong                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     08/30/18   $             281.82   Meals, Train, Pkg, Uber, Bag
Ivana Hong Total                                                                                         $             895.99
Julie Springwater            130 E. Washington St., Suite 700      Indianapolis, IN 46205     09/27/18   $             105.33   Meals
Julie Springwater Total                                                                                  $             105.33
Justin Spring                130 E. Washington St., Suite 700      Indianapolis, IN 46205     04/03/18   $             141.70   Mileage 3/28/18
Justin Spring                130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/29/18   $              71.30   Bus, Uber
Justin Spring                130 E. Washington St., Suite 700      Indianapolis, IN 46205     07/18/18   $             141.70   Mileage 7/12 BOD
Justin Spring                130 E. Washington St., Suite 700      Indianapolis, IN 46205     09/06/18   $             142.79   Mileage
Justin Spring                130 E. Washington St., Suite 700      Indianapolis, IN 46205     10/31/18   $             161.70   Mileage, Parking
Justin Spring                130 E. Washington St., Suite 700      Indianapolis, IN 46205     11/08/18   $             141.70   Mileage
Justin Spring Total                                                                                      $             800.89
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     03/20/18   $           1,102.69   Meals, Airfare, Car Service
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     03/20/18   $           1,564.82   Meals, Airfare, Car Service
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     04/03/18   $             660.24   Airfare, Shuttle, Meals
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/01/18   $             730.18   Air, Meal, Shuttle
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/22/18   $           1,289.11   Meals, Air, Trans, Hotel
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/29/18   $             910.08   Airfare, Taxi, Meals
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     07/25/18   $           1,476.04   Air, Car, Meal, Hotel 7/16
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     07/25/18   $           1,490.62   Air, CarServ, Meal BOD
Karen Golz                   130 E. Washington St., Suite 700      Indianapolis, IN 46205     10/10/18   $           1,855.09   Air, Shuttle, Meal, Hotel
Karen Golz Total                                                                                         $          11,078.87
Kathryn Carson               130 E. Washington St., Suite 700      Indianapolis, IN 46205     08/30/18   $             251.36   Room
Kathryn Carson               130 E. Washington St., Suite 700      Indianapolis, IN 46205     11/20/18   $             179.13   Hotel, Meal, Uber
Kathryn Carson Total                                                                                     $             430.49
Kathy Krebs                  3514 S State St.                      Crete, IL 60417            12/21/17   $             176.55   Mileage
Kathy Krebs Total                                                                                        $             176.55
Kelli Hill                   7557 Lindbergh Dr                     Gaithersburg, MD 20879     04/03/18   $             325.00   Meals, Hotel, Car Rental
Kelli Hill                   7557 Lindbergh Dr                     Gaithersburg, MD 20879     07/11/18   $             100.00   Baggage
Kelli Hill Total                                                                                         $             425.00
Kerry Perry                  1266 N Blue Spruce Ct                 Greenfield, IN 46140       12/21/17   $             116.63   Mileage
Kerry Perry                  1266 N Blue Spruce Ct                 Greenfield, IN 46140       02/06/18   $             118.81   Mileage
Kerry Perry                  1266 N Blue Spruce Ct                 Greenfield, IN 46140       03/06/18   $             275.44   Mileage, Feb Cell Phone

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                                                                                                              Total Amount or
       Insider's Name                                 Insider's Address                         Date                                 Reasons for payment or transfer
                                                                                                                   Value
Kerry Perry                   1266 N Blue Spruce Ct                 Greenfield, IN 46140       04/10/18   $              81.55   Cell Phone, Uber
Kerry Perry                   1266 N Blue Spruce Ct                 Greenfield, IN 46140       05/08/18   $              40.00   April Cell Phone Reimbursement
Kerry Perry                   1266 N Blue Spruce Ct                 Greenfield, IN 46140       06/12/18   $             587.58   Cell Phone, Airfare
Kerry Perry                   1266 N Blue Spruce Ct                 Greenfield, IN 46140       07/18/18   $              56.00   May Cell Phone
Kerry Perry                   1266 N Blue Spruce Ct                 Greenfield, IN 46140       09/06/18   $              80.00   Taxi, August Cell Phone
Kerry Perry                   1266 N Blue Spruce Ct                 Greenfield, IN 46140       09/14/18   $         425,000.00   Severance
Kerry Perry Total                                                                                         $         426,356.01
Kimberley Till                130 E. Washington St., Suite 700      Indianapolis, IN 46205     08/08/18   $              98.62   Taxi
Kimberley Till                130 E. Washington St., Suite 700      Indianapolis, IN 46205     11/29/18   $             863.10   Meal, Taxi, Hotel, Coffee
Kimberley Till Total                                                                                      $             961.72
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     04/03/18   $             208.19   Mileage 3/28/18
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/01/18   $             210.37   Mileage
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     05/29/18   $             750.00   JO COP Review
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     06/26/18   $              30.00   Testing, Scoring
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     08/22/18   $             150.00   Spkr (1) Lectures
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     09/06/18   $             210.37   Mileage
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     09/27/18   $             300.00   Spkr (2) Lectures
Kittia Carpenter              130 E. Washington St., Suite 700      Indianapolis, IN 46205     10/04/18   $             243.07   Mileage
Kittia Carpenter Total                                                                                    $           2,102.00
Lois Bingham                  130 E. Washington St., Suite 700      Indianapolis, IN 46205     10/10/18   $             248.24   Hotel, Pkg, Taxi
Lois Bingham Total                                                                                        $             248.24
Mary Bono                                                                                      11/16/18   $          18,000.00   Severance
Mary Bono Total                                                                                           $          18,000.00
Natalya Kozitskaya            Address Redacted                                                 05/08/18   $             500.00   Judge (4) Days
Natalya Kozitskaya            Address Redacted                                                 05/08/18   $             500.00   Judge (3) Days
Natalya Kozitskaya            Address Redacted                                                 06/19/18   $             175.00   Baggage
Natalya Kozitskaya            Address Redacted                                                 06/19/18   $             500.00   Judge (7) Days
Natalya Kozitskaya            Address Redacted                                                 06/26/18   $             750.00   Judge (3) Days
Natalya Kozitskaya            Address Redacted                                                 08/08/18   $             200.00   (10) Per Diem
Natalya Kozitskaya            Address Redacted                                                 11/15/18   $             232.53
Natalya Kozitskaya Total                                                                                  $           2,857.53
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          01/05/18   $             550.00   T&T Contract
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          02/01/18   $             550.00   T&T Contract
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          03/01/18   $             550.00   T&T Contract
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          04/02/18   $             550.00   T&T Contract
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          04/17/18   $             500.00   Expense Advance
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          05/01/18   $             550.00   T&T Contract
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          05/22/18   $              88.00   Baggage, Parking
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          06/01/18   $             550.00   T&T Contract
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          06/05/18   $             762.50   Judge (30.5) Hours
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          06/12/18   $              50.00   Baggage
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          06/26/18   $           1,975.00   TT Comp Dir (7) Days
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          07/02/18   $             550.00   T&T Contract
Patti Conner                  7401 Topeka Ave                       Lubbock, TX 79424          07/11/18   $             108.32   Staff (5.75) PDiem
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USA Gymnastics
Case No. 18-09108
SOFA Exhibit 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider.

                                                                                                             Total Amount or
       Insider's Name                               Insider's Address                          Date                                 Reasons for payment or transfer
                                                                                                                  Value
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           07/25/18   $           1,200.00   (120) Seat Covers
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           08/01/18   $             118.83   Parking, Taxi
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           08/01/18   $           2,950.00   T&T Contract
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           08/22/18   $             450.00   Spkr (3) Lectures
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           09/05/18   $             550.00   T&T Contract
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           09/27/18   $              86.00   Parking, Baggage
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/01/18   $             550.00   T&T Contract
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/25/18   $               5.95   Postage
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/25/18   $               6.70   Postage
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/25/18   $             510.00   Instructor 10/5
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/25/18   $           1,200.00   Instructor 9/28
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/31/18   $               2.05   Postage
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/31/18   $             240.00   Instructor 10/14
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           10/31/18   $             800.00   T&T COP/DVD #3651
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           11/01/18   $             550.00   T&T Contract
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           11/20/18   $              24.00   Azerbaijan Visa
Patti Conner                7401 Topeka Ave                       Lubbock, TX 79424           12/03/18   $             550.00   T&T Contract
Patti Conner Total                                                                                       $          17,127.35
Paul Parilla                21822 Rushford Dr.                    Lake Forest, CA 92630       02/13/18   $             127.36   Rental, Tolls, Tips, Fee
Paul Parilla Total                                                                                       $             127.36
Randy Jepson                101 White Building                    University Park, PA 16802   01/05/18   $             150.00   Shared Funding
Randy Jepson                101 White Building                    University Park, PA 16802   02/01/18   $             150.00   Shared Funding
Randy Jepson Total                                                                                       $             300.00
Roberta Lee Cesarek         1758 Atrium Drive                     Sun City Center, FL 33573   08/30/18   $             175.10   Gas, Tolls, Pkg, Meals
Roberta Lee Cesarek Total                                                                                $             175.10
Rome Milan                  8013 Cripple Creek                    Fort Worth, TX 76179        09/12/18   $           3,000.00   Oly Trade Show
Rome Milan Total                                                                                         $           3,000.00
Stefanie Korepin            130 E. Washington St., Suite 700      Indianapolis, IN 46205      03/06/18   $              37.86   Taxi
Stefanie Korepin            130 E. Washington St., Suite 700      Indianapolis, IN 46205      03/06/18   $             450.00   Judge/(3) Days
Stefanie Korepin            130 E. Washington St., Suite 700      Indianapolis, IN 46205      05/29/18   $             177.84   Hotel
Stefanie Korepin            130 E. Washington St., Suite 700      Indianapolis, IN 46205      06/05/18   $             600.00   Judge (3) Days
Stefanie Korepin            130 E. Washington St., Suite 700      Indianapolis, IN 46205      08/01/18   $              57.77   Mileage
Stefanie Korepin            130 E. Washington St., Suite 700      Indianapolis, IN 46205      08/01/18   $             420.00   Rhy/Judge (6) Sessions
Stefanie Korepin            130 E. Washington St., Suite 700      Indianapolis, IN 46205      10/31/18   $              55.79   Uber
Stefanie Korepin Total                                                                                   $           1,799.26
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           01/02/18   $          46,666.67   Severence
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           02/01/18   $          46,666.67   Severence
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           03/01/18   $          46,666.67   Severence
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           04/02/18   $          36,666.67   Severence
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           05/01/18   $          36,666.67   Severence
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           06/01/18   $          36,666.67   Severence
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           07/02/18   $          36,667.67   Severence
Steven D. Penny Jr          11121 Mirador Lane                    Fishers, IN 46037           08/01/18   $          36,666.67   Severence

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SOFA Exhibit 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider.

                                                                                                               Total Amount or
       Insider's Name                                 Insider's Address                          Date                                 Reasons for payment or transfer
                                                                                                                    Value
Steven D. Penny Jr            11121 Mirador Lane                     Fishers, IN 46037          09/04/18   $          36,666.67   Severence
Steven D. Penny Jr            11121 Mirador Lane                     Fishers, IN 46037          10/01/18   $          36,666.67   Severence
Steven D. Penny Jr            11121 Mirador Lane                     Fishers, IN 46037          11/01/18   $          36,666.67   Severence
Steven D. Penny Jr            11121 Mirador Lane                     Fishers, IN 46037          12/03/18   $          36,666.67   Severence
Steven D. Penny Jr Total                                                                                   $         470,001.04
Steven Legendre               130 E. Washington St., Suite 700       Indianapolis, IN 46205     06/12/18   $             500.00   Coach (5) Days
Steven Legendre               130 E. Washington St., Suite 700       Indianapolis, IN 46205     08/01/18   $             125.00   MPC (5) Days Per Diem
Steven Legendre Total                                                                                      $             625.00
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            01/09/18   $             218.17   Pkg, Fuel, Phone
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            05/29/18   $             750.00   JO COP Review
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            06/05/18   $              88.21   Parking, Uber
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            06/05/18   $           1,000.00   Meet Director (5) Days
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            06/26/18   $              20.00   Parking
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            06/26/18   $              88.85   Parking, Uber
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            06/26/18   $           1,000.00   Speaker (3) Days
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            06/26/18   $           2,000.00   Speaker (2) Days
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            08/22/18   $             650.00   Spkr (7) Lectures
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/12/18   $              19.50   Parking
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/12/18   $           1,000.00   Presenter (3) Days
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/19/18   $              40.15   Parking, Uber
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/19/18   $           2,000.00   Spkr (2) Days
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/27/18   $              26.40   Parking
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/27/18   $             117.13   Mileage
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/27/18   $             150.45   Airfare Refund
Thomas Koll                   7701 Davis Circle                      Omaha, NE 68134            09/27/18   $           1,500.00   Clinician (3) Days
Thomas Koll Total                                                                                          $          10,668.86
Yoichi Tomita                 201 E. Ft. Lowell                      Tucson, AZ 85705           02/05/18   $             125.00   MPC (5) Days PD
Yoichi Tomita                 201 E. Ft. Lowell                      Tucson, AZ 85705           05/29/18   $             245.00   Coach (9) Per Diem
Yoichi Tomita Total                                                                                        $             370.00
                                                                 Grand Total - Payments to Insiders $ 1,024,070.95




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             STATEMENT OF FINANCIAL AFFAIRS


                                EXHIBIT
                           PART 3, QUESTION 7

       LEGAL ACTIONS, ADMINISTRATIVE PROCEEDINGS,
      COURT ACTIONS, EXECUTIONS, ATTACHEMENTS, OR
                 GOVERNMENTAL AUDITS
                                     Case 18-09108-RLM-11       Doc 206      Filed 01/18/19    EOD 01/18/19 22:24:14     Pg 38 of 49

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SOFA Exhibit 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits.


                   Case Title                         Nature of Case        Court or Agency's name and address           Status of Case        Case Number
A.A.K. Doe v. Michigan State University, et al.                        United States District Court                         Pending     1:18-cv-01025-GJQ-ESC
                                                                       Western District of Michigan, Southern District
A.G. and A.W. Does et al v. Michigan State                             United States District Court                         Pending     1:18-cv-01016-GJQ-ESC
University, et al.                                                     Western District of Michigan, Southern District
AC Doe v. United States Olympic Committee, et                          United States District Court                         Pending     1:18-cv-01022-GJQ-ESC
al.                                                                    Western District of Michigan, Southern District
Ali v. Michigan State University, et al.                               United States District Court                         Pending     1:18-cv-01054-GJQ-ESC
                                                                       Western District of Michigan, Southern District
All Olympia Gymnastic Center Inc., et al v.                            Superior Court of the State of California            Pending     California
Lawrence Nassar, et al.                                                County of Los Angeles - Central District                         18STCV02484
Allen v. Michigan State University                                     United States District Court                         Pending     1:18-cv-00887-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Baker v. Larry Nassar, et al.                                          Superior Court of the State of California            Pending     California
                                                                       County of Santa Clara                                            18-cv-338090
BMK Training Facilities, Ltd, et al v. USA                             278th Judicial District                              Pending     Texas
Gymnastics, et al.                                                     Walker County, Texas                                             1828723
Boyce, et al v. Michigan State University, et al                       United States District Court                         Pending     1:18-cv-01029-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Boyce, et al. v. Michigan State University, et al.                     United States District Court                         Pending     1:17-cv-00222-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Boyce, et al. v. Michigan State University, et al.                     United States District Court                         Pending     1:18-cv-01347-GJQ-ESC
                                                                       Western District of Michigan, Southern District                  *State Court complaint that
                                                                                                                                        was removed to Federal
                                                                                                                                        Court
Brown v. Michigan State University, et al.                             United States District Court                         Pending     1:18-cv-01005-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Buchanan et al v. Michigan State University, et al.                    United States District Court                         Pending     1:18-cv-01012-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Campbell et al v. Michigan State University, et al.                    United States District Court                         Pending     1:18-cv-00968-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Champion et al v. Michigan State University, et al.                    United States District Court                         Pending     1:18-cv-01013-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Davis v. Michigan State University, et al.                             United States District Court                      Dismissed with 1:18-cv-01046
                                                                       Western District of Michigan, Southern District   prejudice as to
                                                                                                                             USAG
Davis & Kanaly v. Edward Gerald Spinelli, et al.                       District Court of Oklahoma County                    Pending      Oklahoma
                                                                       State of Oklahoma                                                 CJ-2018-3900


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                     Case Title                      Nature of Case        Court or Agency's name and address           Status of Case        Case Number
Denhollander, et al. v. Michigan State University,                    United States District Court                         Pending     1:17-cv-00029-GJQ-ESC
et al.                                                                Western District of Michigan, Southern District
Denhollander v. USA Gymnastics, Inc. et al.                           United States District Court                         Pending    1:18-cv-01055-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Denhollander v. USA Gymnastics, Inc. et al.                           United States District Court                         Pending    1:18-cv-01346-GJQ-ESC
                                                                      Western District of Michigan, Southern District                 *State Court complaint that
                                                                                                                                      was removed to Federal
                                                                                                                                      Court
Dickman v. Michigan State University, et al.                          United States District Court                         Pending    1:18-cv-01296-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Doe 01 v. USA Gymnastics, Inc. et al.                                 United States District Court                         Pending    1:18-cv-01120-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Doe 02 v. USA Gymnastics, Inc. et al.                                 United States District Court                         Pending    1:18-cv-01121-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Doe 03 v. USA Gymnastics, Inc. et al.                                 United States District Court                         Pending    1:18-cv-01122-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Doe 04 v. USA Gymnastics, Inc. et al.                                 United States District Court                         Pending    1:18-cv-01123-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Doe 05 v. USA Gymnastics, Inc. et al.                                 United States District Court                         Pending    1:18-cv-01124-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Doe v. Michigan State University, et al.                              United States District Court                         Pending    1:18-cv-01014-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Does 1-21 v. Michigan State University, et al.                        United States District Court                         Pending    1:18-cv-01038-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Does AC, BC et al v. Michigan State University, et                    United States District Court                         Pending    1:18-cv-00831-GJQ-ESC
al.                                                                   Western District of Michigan, Southern District
Efrain Gonzalez Jr., v. USA Gymnastics, Inc.                          127th Judicial District                              Pending    Texas
                                                                      Harris County, Texas                                            2018-83861
Epple et al v. Michgan State University et al                         United States District Court                         Pending    1:18-cv-01047-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Espinosa v. Michigan State University, et al.                         United States District Court                         Pending    1:18-cv-00828-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Frederick v. United States Olympic Committee, et                      United States District Court                         Pending    Massachusetts
al.                                                                   District of Massachusetts                                       1:18-cv-11299-IT
Hagaman v. Michigan State University, et al.                          United States District Court                         Pending    1:18-cv-00981-GJQ-ESC
                                                                      Western District of Michigan, Southern District




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                   Case Title                         Nature of Case        Court or Agency's name and address           Status of Case        Case Number
Hovinga v. Michigan State University, et al.                           United States District Court                         Pending     1:18-cv-01036-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Hutchins et al v. Michigan State University, et al.                    United States District Court                         Pending    1:18-cv-00915-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane A Doe et al v. Michigan State University, et                      United States District Court                         Pending    1:18-cv-01039-GJQ-ESC
al.                                                                    Western District of Michigan, Southern District
Jane AJ Doe v. Doe 1, et al                                            Superior Court of the State of California            Pending    California
                                                                       County of Orange                                                30-2017-00899357
Jane E-1 Doe v. Michigan State University, et al                       United States District Court                         Pending    1:17-cv-00244-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane E-1 Doe, et al v. Michigan State University,                      United States District Court                         Pending    1:18-cv-01049-GJQ-ESC
et al.                                                                 Western District of Michigan, Southern District
Jane E-1 Doe, et al v. Michigan State University,                      United States District Court                         Pending    1:18-cv-01350-GJQ-ESC
et al.                                                                 Western District of Michigan, Southern District                 *State Court complaint that
                                                                                                                                       was removed to Federal
                                                                                                                                       Court
Jane B95 Doe, v. Mchigian State University, et al.                     United States District Court                         Pending    1:18-cv-00491-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane BR2 Doe v. Michigan State University, et al.                      United States District Court                         Pending    1:18-cv-01169-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane C. Doe v. Michigan State University, et al.                       United States District Court                         Pending    1:18-cv-00694-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane Doe 01, a minor, v. Michigan State                                United States District Court                         Pending    1:18-cv-00173-GJQ-ESC
University, et al.                                                     Western District of Michigan, Southern District
Jane Doe 02, v. Michigan State University, et al.                      United States District Court                         Pending    1:18-cv-00174-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane Doe 03, v. Michigan State University, et al.                      United States District Court                         Pending    1:18-cv-00188-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane Doe 04, v. Michigan State University, et al.                      United States District Court                         Pending    1:18-cv-00377-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane Doe 05, v. Michigan State University, et al.                      United States District Court                         Pending    1:18-cv-00494-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane Doe ME v. Michigan State University, et al.                       United States District Court                         Pending    1:18-cv-00944-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jane Doe MJ v. Michigan State University, et al.                       United States District Court                         Closed     1:18-cv-00616-GJQ-ESC
                                                                       Western District of Michigan, Southern District




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                  Case Title                         Nature of Case         Court or Agency's name and address             Status of Case        Case Number
Jane Doe MJ v. Michigan State University, et al.                      United States District Court                            Pending     1:18-cv-00978-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Jane Doe v. International Federation of                               Circuit Court of Cook County, Illinois                  Pending    Illinois
Gymnastics, et al.                                                    County Department, Law Division                                    2018L008869
Jane ED Doe v. Doe 1, et al.                                          Superior Court of the State of California               Pending    California
                                                                      County of Los Angeles - Central District                           18-stcv-04744
Jane EL Doe v. Doe 1, et al                                           Superior Court of the State of California               Pending    California
                                                                      County of Orange, Civil Complex Center                             BC706935
Jane J-1 Doe v. Michigan State University, et al.                     United States District Court                            Pending    1:18-cv-00758-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Jane JD Doe v. Doe 1, et al.                                          United States District Court                            Pending    California
                                                                      Central District of California - Southern Division                 34-2016-00200075
                                                                                                                                         8:18-cv-01136-JLS-KES
Jane K.K. Doe v. Michigan State University, et al.                    United States District Court                            Pending    1:18-cv-00732-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Jane KJTM Doe v. Michigan State University, et                        United States District Court                            Pending    1:18-cv-00806-GJQ-ESC
al.                                                                   Western District of Michigan, Southern District
Jane KRA Doe v. Michigan State University, et al.                     United States District Court                            Pending    1:18-cv-00993-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Jane LB Doe et al v. Michigan State University, et                    United States District Court                            Pending    1:18-cv-00987-GJQ-ESC
al.                                                                   Western District of Michigan, Southern District
Jane LM Doe v. Larry Nassar, et al.                                   United States District Court                            Pending    California
                                                                      Central District of California - Southern Division                 BC638724
                                                                                                                                         8:18-CV-01117-JLS-KES
Jane M.P. Doe v. Michigan State University, et al.                    United States District Court                            Pending    1:18-cv-00734-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Jane MPW Doe, v. Michigan State University, et                        United States District Court                                       1:18-cv-00642-GJQ-ESC
                                                                                                                              Closed
al.                                                                   Western District of Michigan, Southern District
Jane N. Doe v Michigan State University, et al.                       United States District Court                            Pending    1:18-cv-01258-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Jane NLF-1 Doe v. Michigan State University, et                       United States District Court                            Pending    1:18-cv-00842-GJQ-ESC
al.                                                                   Western District of Michigan, Southern District
Jane NLF-2 Doe v. Michigan State University, et                       United States District Court                            Pending    1:18-cv-00851-GJQ-ESC
al.                                                                   Western District of Michigan, Southern District
Jane NLF-3 Doe v. Michigan State University, et                       United States District Court                            Pending    1:18-cv-01008-GJQ-ESC
al.                                                                   Western District of Michigan, Southern District




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                 Case Title                           Nature of Case        Court or Agency's name and address              Status of Case        Case Number
Jane PCNE Doe v. USA Gymnastics, et al.                                United States District Court                            Pending     California
                                                                       Central District of California - Southern Division                  BC667053
                                                                                                                                           2:18-CV-03464-JLS-KES
Jane R Does et al v. Michigan State University, et                     United States District Court                            Pending     1:18-cv-00822-GJQ-ESC
al.                                                                    Western District of Michigan, Southern District
Jane R6 Doe et al v. Michigan State University, et                     United States District Court                            Pending    1:18-cv-00922-GJQ-ESC
al.                                                                    Western District of Michigan, Southern District
Jane RG Doe v. Michigan State University, et al.                       United States District Court                            Pending    1:18-cv-01007-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Janes A and B Doe et al v. Michigan State                              United States District Court                            Pending    1:18-cv-00640-GJQ-ESC
University, et al.                                                     Western District of Michigan, Southern District
John F1 Doe, et al v. Michigan State University, et                    United States District Court                            Pending    1:17-cv-00676-GJQ-ESC
al.                                                                    Western District of Michigan, Southern District
John F1 Doe, et al v. Michigan State University, et                    United States District Court                            Pending    1:18-cv-01037-GJQ-ESC
al.                                                                    Western District of Michigan, Southern District
John F1 Doe, et al v. Michigan State University, et                    United States District Court                            Pending    1:18-cv-01351-GJQ-ESC
al.                                                                    Western District of Michigan, Southern District                    *State Court complaint that
                                                                                                                                          was removed to Federal
                                                                                                                                          Court
Jonuska v. Michigan State University, et al.                           United States District Court                            Pending    1:18-cv-00965-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Jordan Schwikert-Cobbs v. Doe 1, Doe 2, et al                          Superior Court of the State of California               Pending    California
                                                                       County of Los Angeles - Central District                           18STCV02707
Jane KR Doe v. United States Olympic                                   Superior Court of the State of California               Pending    California
Committee, et al.                                                      County of Orange                                                   30-2018-01019592-CU-PO-
                                                                                                                                          CJC
KJ v. Michigan State University, et al.                                United States District Court                            Pending    1:18-cv-01010-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Kowalski v. Michigan State University, et al.                          United States District Court                            Pending    1:18-cv-00773-GJQ-ESC
                                                                       Western District of Michigan, Southern District
LaDrigue v. Michigan State University, et al.                          United States District Court                            Pending    1:18-cv-00999-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Lemke, et al., v. Michigan State University, et al.                    United States District Court                            Pending    1:17-cv-00257-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Lemke, et al., v. Michigan State University, et al.                    United States District Court                            Pending    1:18-cv-01052-GJQ-ESC
                                                                       Western District of Michigan, Southern District




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SOFA Exhibit 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits.


                     Case Title                       Nature of Case        Court or Agency's name and address              Status of Case        Case Number
Lemke, et al., v. Michigan State University, et al.                    United States District Court                            Pending     1:18-cv-01348-GJQ-ESC
                                                                       Western District of Michigan, Southern District                     *State Court complaint that
                                                                                                                                           was removed to Federal
                                                                                                                                           Court
Maroney v. Michigan State University, et al.                           United States District Court                            Pending     California
                                                                       Central District of California - Southern Division                  BC687396
                                                                                                                                           2:18-CV-03461-JLS-KES
MB45 Doe v. Michigan State University, et al.                          United States District Court                            Pending     1:18-cv-01027-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Mealy, et al. v. Michigan State University, et al.                     United States District Court                            Pending      1:18-cv-00397-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Mealy, et al. v. USA Gymnastics, Inc. et al.                           United States District Court                            Pending      1:18-cv-01034-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Mealy, et al. v. USA Gymnastics, Inc. et al.                           United States District Court                            Pending      1:18-cv-01314 *State Court
                                                                       Western District of Michigan, Southern District                      complaint that was removed
                                                                                                                                            to Federal Court
Mihael Anton v. USA Gymnastics                                         Marion Superior Court                                   Pending      Indiana
                                                                       State of Indiana, County of Marion                                   49D02-1802-PL-005398
Miller, v. Michigan State University, et al.                           United States District Court                            Pending      1:18-cv-00256-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Mkg Doe v. Michigan State University, et al.                           United States District Court                            Pending      1:18-cv-01045-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Morris v. Michigan State University, et al.                            United States District Court                            Pending      1:18-cv-01060-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Myers v. Michigan State University, et al.                             United States District Court                            Pending      1:18-cv-00886-GJQ-ESC
                                                                       Western District of Michigan, Southern District
Nagle v. Michigan State University, et al.                             United States District Court                            Pending      1:18-cv-01057-GJQ-ESC
                                                                       Western District of Michigan, Southern District
NC Doe v. Michigan State University, et al.                            United States District Court                            Pending      1:18-cv-01028-GJQ-ESC
                                                                       Western District of Michigan, Southern District
NLF-4 Doe v. Michigan State University, et al.                         United States District Court                            Pending      1:18-cv-01019-GJQ-ESC
                                                                       Western District of Michigan, Southern District
P.S. Doe v. USA Gymnastics et al                                       United States District Court                            Pending      1:18-cv-01024-GJQ-ESC 
                                                                       Western District of Michigan, Southern District
Payne et al v. Michigan State University, et al.                       United States District Court                            Pending      1:18-cv-01044-GJQ-ESC
                                                                       Western District of Michigan, Southern District




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                     Case Title                      Nature of Case        Court or Agency's name and address           Status of Case        Case Number
Payne, et al. v. Michigan State University, et al.                    United States District Court                         Pending     1:17-cv-00684-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Payne, et al. v. Michigan State University, et al.                    United States District Court                         Pending    1:18-cv-01345-GJQ-ESC
                                                                      Western District of Michigan, Southern District                 *State Court complaint that
                                                                                                                                      was removed to Federal
                                                                                                                                      Court
Preston v. Michigan State University, et al.                          United States District Court                         Pending    1:18-cv-01004-GJQ-ESC
                                                                      Western District of Michigan, Southern District

Raisman v. United States Olympic Committee, et                        United States District Court                         Pending    California
al.                                                                   Northern District of California                                 18-cv-323989
                                                                                                                                      5:18-cv-02479-BLF
Rehberger Doe et al v. Michigan State University,                     United States District Court                         Pending    1:18-cv-00982-GJQ-ESC
et al.                                                                Western District of Michigan, Southern District
Richard Carlson v. USA Gymnastics                                     Supreme Court                                        Pending    New York
                                                                      State of New York, County of Nassau                             613294-2018

Sabrina Vega v. USA Gymnastics, et al                                 278th Judicial District                           Dismissed with Texas
                                                                      Walker County, Texas                                 prejudice   1828737

Tasha Schwikert-Warren v. Doe 1, et al                                Superior Court of the State of California            Pending    California
                                                                      County of Los Angeles - Central District                        18STCV02706
The Estate of Megan Simon v. Michigan State                           United States District Court                         Pending    1:18-cv-01002-GJQ-ESC
University, et al.                                                    Western District of Michigan, Southern District
Thrush, et al v. Michigan State University, et al.                    United States District Court                         Pending    1:17-cv-00254-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Thrush et al v. Michigan State University, et al.                     United States District Court                         Pending    1:18-cv-01041-GJQ-ESC
                                                                      Western District of Michigan, Southern District
Thrush et al v. Michigan State University, et al.                     United States District Court                         Pending    1:18-cv-01349-GJQ-ESC
                                                                      Western District of Michigan, Southern District                 *State Court complaint that
                                                                                                                                      was removed to Federal
                                                                                                                                      Court
Tiffany Thomas Lopez V. Larry Nassar, et al.                          Superior Court of the State of California            Pending    California
                                                                      County of Los Angeles                                           BC644417
Wampler et al v. Michigan State University, et al.                    United States District Court                         Pending    1:18-cv-01018-GJQ-ESC
                                                                      Western District of Michigan, Southern District



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SOFA Exhibit 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits.


                      Case Title                      Nature of Case      Court or Agency's name and address              Status of Case        Case Number
Whitehurst et al v. Michigan State University, et al.                United States District Court                            Pending     1:18-cv-01059-GJQ-ESC
                                                                     Western District of Michigan, Southern District
Whitehurst, et al. v. Michigan State University, et                  United States District Court                            Pending    1:18-cv-00433-GJQ-ESC
al.                                                                  Western District of Michigan, Southern District
Whitehurst, et al. v. Michigan State University, et                  United States District Court                            Pending    1:18-cv-01352-GJQ-ESC
al.                                                                  Western District of Michigan, Southern District                    *State Court complaint that
                                                                                                                                        was removed to Federal
                                                                                                                                        Court
Wieber v. United States Olympic Committee, et al.                    United States District Court                            Pending    California
                                                                     Central District of California - Southern Division                 BC702167
                                                                                                                                        2:18-cv-03462-JLS-KES
William O. West v. USA Gymnastics, Inc.                              United States District Court                            Pending    Florida
                                                                     Middle District of Florida - Tampa Division                        8:18-cv-01616-CEH-JSS
Williams v. Michigan State University, et al.                        United States District Court                            Pending    1:18-cv-01056-GJQ-ESC
                                                                     Western District of Michigan, Southern District
Zalenski v. Michigan State University, et al.                        United States District Court                            Pending    1:18-cv-01058-GJQ-ESC
                                                                     Western District of Michigan, Southern District




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             STATEMENT OF FINANCIAL AFFAIRS


                               EXHIBIT
                         PART 13, QUESTION 28

     LIST THE DEBTOR’S OFFICERS, DIRECTORS, MANAGING
         MEMBERS, GENERAL PARTNERS, MEMBERS IN
     CONTROL, CONTROLLING SHAREHOLDERS, OR OTHER
     PEOPLE IN CONTROL OF THE DEBTOR AT THE TIME OF
                   FILING OF THIS CASE
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USA Gymnastics
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SOFA Exhibit 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling
shareholders, or other people in control of the debtor at the time of the filing of this case.

          Name                                     Address                                 Position and nature of any interest   % of Interest, if any

Brent Lang            130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
David Rudd            130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Dylan Maurer          130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Ivana Hong            130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Julie Springwater     130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Justin Spring         130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Kathryn Carson        130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Kevin White           130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Kimberly Till         130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Kittia Carpenter      130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Lois Bingham          130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Staci Slaughter       130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Stefanie Korepin      130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%
Steven Legendre       130 E. Washington St., Suite 700   Indianapolis, IN 46204         2018 Permanent Board Member                      0%




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             STATEMENT OF FINANCIAL AFFAIRS


                               EXHIBIT
                         PART 13, QUESTION 29

     WITHIN 1 YEAR BEFORE THE FILING OF THIS CASE, DID
     THE DEBTOR HAVE OFFICERS, DIRECTORS, MANAGING
         MEMBERS, GENERAL PARTNERS, MEMBERS IN
      CONTROL, OR SHAREHOLDERS IN CONTROL OF THE
       DEBTOR WHO NO LONGER HOLD THSE POSTIONS
                        Case 18-09108-RLM-11                  Doc 206      Filed 01/18/19         EOD 01/18/19 22:24:14                 Pg 49 of 49
USA Gymnastics
Case No. 18-09108
SOFA Exhibit 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions.

                                                                                                   Position and nature of any       Period during which position or interest
          Name                                          Address
                                                                                                            interest                               was held
Austin White            32 Dunes Blf                           Newport Coast, CA 92657          Board of Directors                               January 2018
Ava Gehringer           1733 Asbury Ave                        Evanston, IL 60201               Board of Directors                       January 2018 - June 22, 2018
Bitsy Kelley            9067 Ogallala Rd.                      Longmont, CO 80503               Board of Directors, Treasurer                    January 2018
Bob Meier               111 Garlic Avenue                      Morgan Hill, CA 95037            Board of Directors                      February 1, 2018 - June 22, 2018
Carisa Laughon          10528 Chestnut Hill Circle             Fishers, IN 46037                Board of Directors                               January 2018
Casey Koenig            12745 Eckel Junction Rd.               Perrysburg, OH 43551             Board of Directors                               January 2018
Cathy Rigby McCoy       22601 La Palma Ave., Suite 105         Yorba Linda, CA 92887            Board of Directors                               January 2018
Cindy Bickman           700 Trinity Church Road                Canton, GA 30115                 Board of Directors                      February 1, 2018 - June 22, 2018
Claudia Kretschmer      555 Hines Drive                        Ann Arbor, MI 48108              Board of Directors                      February 1, 2018 - June 22, 2018
David Benck             2840 Mountain Brook Parkway            Birmingham, AL 35223             Board of Directors                               January 2018
Davonshe Galimore       11413 Old Stone Drive                  Indianapolis, IN 46236           Chief Operating Officer                  March 1984 - November 2018
Evelyn Chandler         3358 Sagebrush St                      Harmony, FL 34773                Board of Directors                      February 1, 2018 - June 22, 2018
Jay Binder              101 Fox Run Dr                         Mandeville, LA 70471             Board of Directors, Vice Chairman                January 2018
Jim Crawford Jakubiak   747 52nd Street                        Oakland, CA 94609                Board of Directors                      February 1, 2018 - June 22, 2018
John Hewett             9520 Timberline Court                  Indianapolis, IN 46256           Chief Financial Officer                     August 1983 - July 2018
Karen Golz              Post Office Box 1318                   Center Harbor, NH 03226          Board of Directors                   February 1, 2018 - November 27, 2018
Kathy Krebs             3514 S State St.                       Crete, IL 60417                  Board of Directors                               January 2018
Kelli Hill              7557 Lindbergh Dr                      Gaithersburg, MD 20879           Board of Directors                               January 2018
Kerry Perry             1266 N Blue Spruce Ct                  Greenfield, IN 46140             Chief Executive Officer                December 2017 - September 2018
Kevin Martinez          268 Steele Rd., PO Box 1944            West Hartford, Ct 06117          Board of Directors                               January 2018
Mary Bono               2100 Main Line Blvd.                   Alexandria, VA 22301             Chief Executive Officer              September 3, 2018 - September 7, 2018
Mike Burns              306 Cooke Hall, 1900 University Ave    Minneapolis, MN 55455            Board of Directors                               January 2018
Natalya Kozitskaya      Address Redacted                                                        Board of Directors                               January 2018
Patti Conner            7401 Topeka Ave                        Lubbock, TX 79424                Board of Directors                               January 2018
Paul Parilla            21822 Rushford Dr.                     Lake Forest, CA 92630            Board of Directors, Chairman                     January 2018
Randy Jepson            101 White Building                     University Park, PA 16802        Board of Directors                      February 1, 2018 - June 22, 2018
Roberta Lee Cesarek     1758 Atrium Drive                      Sun City Center, FL 33573        Board of Directors                      February 1, 2018 - June 22, 2018
Rome Milan              8013 Cripple Creek                     Fort Worth, TX 76179             Board of Directors                               January 2018
Scott Lineberry         3294 Wynnewood Dr                      Greensboro, NC 27408             Board of Directors                      February 1, 2018 - June 22, 2018
Steve Penny             11121 Mirador Lane                     Fishers, IN 46037                Chief Executive Officer                 March 1, 1999 - March 17, 2017
Tom Koll                7701 Davis Circle                      Omaha, NE 68134                  Board of Directors                               January 2018
Yoichi Tomita           201 E. Ft. Lowell                      Tucson, AZ 85705                 Board of Directors                               January 2018




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